 Fill in this information to identify your case:

 Debtor 1
                     Deborah Ann Rodriguez
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Arizona    District of __________
                                                                                                (State)
 Case number           2:20-bk-00032-PS
                     ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 408,892.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 31,049.00
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 439,941.00
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 273,368.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 71.36
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      +   $ 115,861.30
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 389,300.66
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 7,134.48
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 7,390.46
                                                                                                                                                                            ________________




            Case
Official Form      2:20-bk-00032-PS
              106Sum            SummaryDoc  14Assets
                                       of Your    Filed  01/16/20
                                                     and Liabilities      Entered
                                                                     and Certain       01/16/20
                                                                                 Statistical         14:42:26
                                                                                             Information                                                                     Desc
                                                                                                                                                                              page 1 of 2
                                                                    Main Document                         Page 1 of 67
                  Deborah Ann Rodriguez                                                                                   2:20-bk-00032-PS
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
    ✔


           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                        6,664.79
                                                                                                                                       $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________


                                                                                                                           71.36
                                                                                                            $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                            $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                               0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                                        71.36
                                                                                                            $_____________________




    OfficialCase   2:20-bk-00032-PS
            Form 106Sum         SummaryDoc  14Assets
                                       of Your    Filed  01/16/20
                                                     and Liabilities      Entered
                                                                     and Certain       01/16/20
                                                                                 Statistical         14:42:26
                                                                                             Information                                    Desc
                                                                                                                                             page 2 of 2
                                                          Main Document                Page 2 of 67
Fill in this information to identify your case and this filing:


Debtor 1
                    Deborah Ann Rodriguez
                  __________________________________________________________________
                    First Name               Middle Name                 Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                 Last Name


                                        ______________________
United States Bankruptcy Court for the: District of Arizona    District of __________
                                                                                     (State)
Case number           2:20-bk-00032-PS
                    ___________________________________________
                                                                                                                                           Check if this is an
                                                                                                                                               amended filing

Official Form 106A/B
Sche dule A/B: Prope r t y                                                                                                                                12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Pa rt 1 :      De sc ribe Ea c h Re side nc e , Building, La nd, or Othe r Re a l Est a t e You Ow n or H a ve a n I nt e re st I n
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
    
    ✔    Yes. Where is the property?                              What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                      Single-family home                            the amount of any secured claims on Schedule D:
      1.1. Parcel   Number: 104-46-017C
           _________________________________________                  Duplex or multi-unit building
                                                                                                                     Creditors Who Have Claims Secured by Property:
           Street address, if available, or other description
                                                                      Condominium or cooperative                    Current value of the Current value of the
                                                                      Manufactured or mobile home                   entire property?     portion you own?
             _________________________________________
                                                                  
                                                                  ✔    Land                                           Unknown
                                                                                                                     $________________   Unknown
                                                                                                                                       $_________________
                                                                      Investment property
             Holbrook                 AZ     86025                                                                   Describe the nature of your ownership
             _________________________________________
             City                         State     ZIP Code
                                                                      Timeshare                                     interest (such as fee simple, tenancy by
                                                                      Other __________________________________      the entireties, or a life estate), if known.

                                                                  Who has an interest in the property? Check one.
                                                                                                                     Other
                                                                                                                     __________________________________________

            Navajo  County                                        
                                                                  ✔ Debtor 1 only                                    Check if this is community property
            _________________________________________
             County                                                Debtor 2 only
                                                                   Debtor 1 and Debtor 2 only
                                                                   At least one of the debtors and another
                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:




    If you own or have more than one, list here:                 What is the property? Check all that apply.         Do not deduct secured claims or exemptions. Put
                                                                     Single-family home                             the amount of any secured claims on Schedule D:
      1.2. Parcel    Number: 122-05-14804
            ________________________________________                 Duplex or multi-unit building
                                                                                                                     Creditors Who Have Claims Secured by Property.
            Street address, if available, or other description
                                                                    Condominium or cooperative                      Current value of the     Current value of the
                                                                     Manufactured or mobile home                    entire property?         portion you own?
             ________________________________________
                                                                 
                                                                 ✔
                                                                      Land                                             Unknown
                                                                                                                     $________________          Unknown
                                                                                                                                              $_________________
            Bisbee                   AZ      85603
                                                                     Investment property
             ________________________________________
             City                         State     ZIP Code
                                                                     Timeshare                                      Describe the nature of your ownership
                                                                     Other __________________________________       interest (such as fee simple, tenancy by
                                                                                                                     the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                    Other
                                                                                                                    __________________________________________
            Cochise   County
                                                                 
                                                                 ✔ Debtor 1 only
             ________________________________________
             County                                               Debtor 2 only
                                                                  Debtor 1 and Debtor 2 only                        Check if this is community property
                                                                  At least one of the debtors and another              (see instructions)

                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:


               Case 2:20-bk-00032-PS                       Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                                     Desc
                                                            Main Document    Page 3 of 67                                                          page 1 of ___
                                                                                                                                                              12
 Fill in this information to identify your case and this filing:


                       Deborah Ann Rodriguez
                       First Name                   Middle Name                    Last Name



 (Spouse, if filing)   First Name                   Middle Name                    Last Name


                                               ______________________
                                               District of Arizona                  District __________
                                                                                             of
                                                                                               (State)
                         2:20-bk-00032-PS




Part 1:         Continuation Sheet

                                                                                What is the property? Check all that        Do not deduct secured claims or exemptions. Put
                                                                                apply.                                      the amount of any secured claims on Schedule D:
     3
   1.___      Section: 27, Township: 26N, Range: 19W,
              ________________________________________ q Single-family
                                                          Lake Mohave  home Ranchos Unit 23,                           BlockCreditors
                                                                                                                             A, Lot Who
                                                                                                                                      2 Have Claims Secured by Property.
              Street address, if available, or other description       q        Duplex or multi-unit building

                                                                       q        Condominium or cooperative                     Current value of the     Current value of the
                                                                       q        Manufactured or mobile home                    entire property?         portion you own?
                                                                       q   ■
                                                                                Land                                           $   Unknown              $ Unknown
             Parcel Number: 31915002                                   q        Investment property

                                                                                                                               Describe the nature of your ownership
                                                                       q        Timeshare
                                                                                                                               interest (such as fee simple, tenancy by
             Lake Mohave                       AZ         86402        q        Other                                      _   the entireties, or a life estate), if known.
              City                             State      ZIP Code     Who has an interest in the property? Check one.
                                                                                                                               Other
                                                                       q Debtor 1 only
                                                                           ■


                                                                       q Debtor 2 only
                                                                       q Debtor 1 and Debtor 2 only                            q Check if this is community property
             Mohave County                                             q At least one of the debtors and another                   (see instructions)
              County
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:




                                                                      What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put
                                                                                                                               the amount of any secured claims on Schedule D:
   4
 1.___      5206 West Milada Drive                                    q
                                                                      ■
                                                                               Single-family home                              Creditors Who Have Claims Secured by Property.
             Street address, if available, or other description       q        Duplex or multi-unit building


                                                                      q        Condominium or cooperative
                                                                                                                               Current value of the Current value of the
                                                                                                                               entire property?     portion you own?
                                                                      q        Manufactured or mobile home
                                                                      q        Land                                            $   408,892.00           $
                                                                                                                                                            408,892.00
                                                                      q        Investment property
                                                                                                                               Describe the nature of your ownership
            Laveen                             AZ         85339       q        Timeshare                                       interest (such as fee simple, tenancy by
              City                             State      ZIP Code    q        Other                                   _       the entireties, or a life estate), if known.

                                                                      Who has an interest in the property? Check one.          Fee simple
                                                                      q Debtor 1 only
                                                                       ■



            Maricopa County                                           q Debtor 2 only
              County
                                                                      q Debtor 1 and Debtor 2 only                             q   Check if this is community property
                                                                      q At least one of the debtors and another                    (see instructions)
                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:




                Case 2:20-bk-00032-PS                              Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                                       Desc
                                                                    Main Document    Page 4 of 67                                                                   2     12
                                                                                                                                                              page ___ of __
 Fill in this information to identify your case and this filing:


                       Deborah Ann Rodriguez
                       First Name                   Middle Name                    Last Name



 (Spouse, if filing)   First Name                   Middle Name                    Last Name


                                               ______________________
                                               District of Arizona                  District __________
                                                                                             of
                                                                                               (State)
                         2:20-bk-00032-PS




Part 1:         Continuation Sheet

                                                                                What is the property? Check all that       Do not deduct secured claims or exemptions. Put
                                                                                apply.                                     the amount of any secured claims on Schedule D:
     5
   1.___      Concho   Lakeland, Unit 5, Lot 1107
              ________________________________________                 q        Single-family home                         Creditors Who Have Claims Secured by Property.

              Street address, if available, or other description       q        Duplex or multi-unit building

                                                                       q        Condominium or cooperative                 Current value of the     Current value of the
                                                                       q        Manufactured or mobile home                entire property?         portion you own?
                                                                       q   ■
                                                                                Land                                       $   Unknown              $ Unknown
             Parcel Number: 10733277                                   q        Investment property

                                                                                                                           Describe the nature of your ownership
                                                                       q        Timeshare
                                                                                                                           interest (such as fee simple, tenancy by
             Saint Johns                       AZ         85936        q        Other                                  _   the entireties, or a life estate), if known.
              City                             State      ZIP Code     Who has an interest in the property? Check one.
                                                                                                                           Other
                                                                       q Debtor 1 only
                                                                           ■


                                                                       q Debtor 2 only
                                                                       q Debtor 1 and Debtor 2 only                        q Check if this is community property
             Apache County                                             q At least one of the debtors and another               (see instructions)
              County
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:




                                                                      What is the property? Check all that apply.          Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
   6
 1.___
                                                q and
            Bluegreen Vacations Cibola Vista Resort      Spa, An
                                                    Single-family    Ascend Resort
                                                                  home                                                     Creditors Who Have Claims Secured by Property.
             Street address, if available, or other description       q        Duplex or multi-unit building


                                              q                                Condominium or cooperative
                                                                                                                           Current value of the Current value of the
                                                                                                                           entire property?     portion you own?
                                              q                                Manufactured or mobile home
                                                                                                                           $   Unknown                  Unknown
            27501 North Lake Pleasant Parkway q                                Land                                                                 $
                                              q                                Investment property
                                                                                                                           Describe the nature of your ownership
            Peoria                             AZ         85383       q■
                                                                               Timeshare                                   interest (such as fee simple, tenancy by
              City                             State      ZIP Code    q■
                                                                               Other     Account Number: 29C1222Z_         the entireties, or a life estate), if known.

                                                                      Who has an interest in the property? Check one.      Other
                                                                      q Debtor 1 only
                                                                       ■



            Maricopa County                                           q Debtor 2 only
              County
                                                                      q Debtor 1 and Debtor 2 only                         q   Check if this is community property
                                                                      q At least one of the debtors and another                (see instructions)
                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:




                Case 2:20-bk-00032-PS                              Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                                   Desc
                                                                    Main Document    Page 5 of 67                                                               3     12
                                                                                                                                                          page ___ of __
1.____                                                           What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put

            ________________________________________
                                                                    Single-family home                                   the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
            Street address, if available, or other description      Duplex or multi-unit building
                                                                    Condominium or cooperative                           Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
            ________________________________________                Manufactured or mobile home
                                                                    Land                                                 $________________         $_________________

            ________________________________________
                                                                    Investment property
            City                    State   ZIP Code                Timeshare
                                                                                                                          Describe the nature of your ownership
                                                                                                                          interest (such as fee simple, tenancy by
                                                                    Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                                 Who has an interest in the property? Check one.
            ________________________________________              Debtor 1 only
            County
                                                                  Debtor 2 only
                                                                  Debtor 1 and Debtor 2 only                              Check if this is community property
                                                                                                                              (see instructions)
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  408,892.00
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ...................................................................................... 


Pa rt 2 :      De sc ribe Y our V e hic le s


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
   
   ✔     Yes


    3.1.
                   Scion
            Make: ____________________________                   Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
                    tC
            Model: ____________________________                  
                                                                 ✔ Debtor 1 only                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                   2016                           Debtor 2 only
            Year:                 ____________
                                                                  Debtor 1 and Debtor 2 only                             Current value of the      Current value of the
                                  21,707                                                                                  entire property?          portion you own?
            Approximate mileage: ____________                     At least one of the debtors and another
         Other information:
                                                                                                                           13,397.00                 13,397.00
   Condition: Good                                                Check if this is community property (see               $________________         $________________
                                                                     instructions)



   If you own or have more than one, describe here:
            Make: ____________________________                   Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
    3.2.

            Model: ____________________________                   Debtor 1 only                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                                                  Debtor 2 only
            Year:                     ____________                                                                        Current value of the      Current value of the
                                                                  Debtor 1 and Debtor 2 only                             entire property?          portion you own?
            Approximate mileage: ____________                     At least one of the debtors and another
            Other information:
                                                                  Check if this is community property (see               $________________         $________________
                                                                     instructions)




               Case 2:20-bk-00032-PS                       Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                                          Desc           12
                                                                                                                                                              4 of __
                                                                                                                                                         page ___
                                                            Main Document    Page 6 of 67
                       ____________________________                           Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
  ____.    Make:
           Model: ____________________________                                 Debtor 1 only                                                           the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                               Debtor 2 only
           Year:                             ____________
                                                                               Debtor 1 and Debtor 2 only                                              Current value of the             Current value of the
                                                                                                                                                        entire property?                 portion you own?
           Approximate mileage: ____________                                   At least one of the debtors and another
           Other information:
                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)




                                                                              Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
 ____      Make: ____________________________
           Model: ____________________________                                 Debtor 1 only                                                           the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                               Debtor 2 only
           Year:                             ____________
                                                                               Debtor 1 and Debtor 2 only                                              Current value of the             Current value of the
                                                                                                                                                        entire property?                 portion you own?
           Approximate mileage: ____________                                   At least one of the debtors and another
           Other information:
                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       No
   
   ✔    Yes


   4.1.     Make:  Harley  Davidson
                    ____________________________
                                                                             Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put

            Model: Road  Glide
                    ____________________________
                                                                              Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                         2012                                                 Debtor 2 only
            Year:       ____________
                                                                              Debtor 1 and Debtor 2 only                                               Current value of the             Current value of the
            Other information:                                                At least one of the debtors and another                                  entire property?                 portion you own?
            Condition: Good; Separated husband
            is in possession. Husband has a
            $6,000 exemption .; Mileage: 19000                                
                                                                              ✔ Check if this is community property (see                                 10,000.00
                                                                                                                                                        $________________                 10,000.00
                                                                                                                                                                                         $________________
                                                                                  instructions)



   If you own or have more than one, list here:
                                                                             Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.     Make:       ____________________________

            Model: ____________________________                               Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                              Debtor 2 only
            Year:       ____________                                                                                                                    Current value of the             Current value of the
                                                                              Debtor 1 and Debtor 2 only                                               entire property?                 portion you own?
            Other information:                                                At least one of the debtors and another
                                                                                                                                                        $________________                $________________
                                                                               Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                      23,397.00
                                                                                                                                                                                        $_________________
   you have attached for Part 2. Write that number here ............................................................................................................................




                                                                                                                                                                                                 5      12
              Case 2:20-bk-00032-PS                                   Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                                                                    Desc
                                                                                                                                                                                            page ___ of __
                                                                       Main Document    Page 7 of 67
Pa rt 3 :      De sc ribe Y our Pe rsona l a nd H ouse hold It e m s

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
6. Household goods and furnishings                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
   Examples: Major appliances, furniture, linens, china, kitchenware
                             four beds, four nightstands, sofa set, coffee table, two floor lamps, dinette set, television stand, four
    No                      wall pictures
   
   ✔ Yes. Describe. ........


                                                                                                                                                                                                      2,100.00
                                                                                                                                                                                                    $___________________

7. Electronics

   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
    No                     television, cell phone, personal computer, and oDVD player
   
   ✔ Yes. Describe. ........                                                                                                                                                                          500.00
                                                                                                                                                                                                    $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   
   ✔ No

    Yes. Describe. .........                                                                                                                                                                         0.00
                                                                                                                                                                                                    $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   
   ✔    No
       Yes. Describe. .........                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   
   ✔ No

    Yes. Describe. .........                                                                                                                                                                        0.00
                                                                                                                                                                                                    $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No                   all clothing
   
   ✔    Yes. Describe. .........                                                                                                                                                                      500.00
                                                                                                                                                                                                    $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
       No                       necklaces, earrings, and rings
   
   ✔    Yes. Describe. .........                                                                                                                                                                      150.00
                                                                                                                                                                                                    $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

       No
                                 two dogs
   
   ✔    Yes. Describe. .........                                                                                                                                                                      350.00
                                                                                                                                                                                                    $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   ✔    No
       Yes. Give specific                                                                                                                                                                            0.00
                                                                                                                                                                                                    $___________________
        information...............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                        3,600.00
                                                                                                                                                                                                    $______________________
   for Part 3. Write that number here ........................................................................................................................................................ 


               Case 2:20-bk-00032-PS                                         Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                                                                             Desc    6      12
                                                                                                                                                                                                            page ___ of __
                                                                              Main Document    Page 8 of 67
Pa rt 4 :     De sc ribe Y our Fina nc ia l Asse t s

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                        Current value of the
                                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                                   or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   
   ✔   No
      Yes .....................................................................................................................................................................   Cash: .......................    $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   
   ✔   Yes .....................                 Institution name:


   17.1. Checking account:
                                                 State Farm Bank                                                                      261.22
                                                 ___________________________________________________________________________________ $__________________

   17.2. Checking account:                       ___________________________________________________________________________________ $__________________

   17.3. Savings account:                        ___________________________________________________________________________________ $__________________

   17.4. Savings account:                        ___________________________________________________________________________________ $__________________

   17.5. Certificates of deposit: ___________________________________________________________________________________                                                                                               $__________________
   17.6. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
   17.7. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
   17.8. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
   17.9. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________




18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   
   ✔   No
      Yes ..................
   Institution or issuer name:
                                                                                                                                                                                                                    $__________________
   ___________________________________________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
                                                                                                                                                                                                                    $__________________
   ___________________________________________________________________________________________________________________                                                                                              $__________________
                                                                                                                                                                                                                    $__________________
   ___________________________________________________________________________________________________________________                                                                                              $__________________



19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture
   
   ✔ No

    Yes. Give specific
       information about                                                                                                                                                                                            $__________________
       them. ........................
                                                                                                                                                                                                                    $__________________
  Name of entity:                                                                                                                                                                         % of ownership:
                                                                                                                                                                                                                    $__________________
                                                                                                                                                                                                                    $__________________
  _____________________________________________________________________________________________________                                                                                       ___________%
                                                                                                                                                                                                                    $__________________
  _____________________________________________________________________________________________________                                                                                       ___________%

  _____________________________________________________________________________________________________                                                                                       ___________%          $__________________


              Case 2:20-bk-00032-PS                                                   Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                                                                                    Desc         12
                                                                                                                                                                                                                                 7 of __
                                                                                                                                                                                                                            page ___
                                                                                       Main Document    Page 9 of 67
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    
    ✔ No

     Yes. Give specific
         information about
         them. ......................
    Issuer name:

    ___________________________________________________________________________________________________________________
                                                                                                                                       $__________________

    ___________________________________________________________________________________________________________________ $__________________

    ________________________________________________________________________________________________________________ $__________________

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   
   ✔ No

    Yes. List each
         account separately.                Institution name:
         Type of account:

 401(k) or similar plan:           _________________________________________________________________________________________________   $__________________
                                                                                                                                       $__________________
 Pension plan:                     _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

 IRA:                              _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________
 Retirement account:               _________________________________________________________________________________________________   $___________________
                                                                                                                                       $_________________
 Keogh:                            _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

 Additional account:               _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________
 Additional account:               _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

    
    ✔    No
        Yes ...........................    Institution name or individual:

Electric:                  ____________________________________________________________________________________________________
                                                                                                                                       $___________________

Gas:                       ____________________________________________________________________________________________________        $___________________
                                                                                                                                       $___________________

Heating oil:               _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Rental unit:               ____________________________________________________________________________________________________        $___________________
                                                                                                                                       $___________________

Prepaid rent:              _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Telephone:                 _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Water:                     _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Rented furniture:        ______________________________________________________________________________________________________ $___________________
                                                                                                                                $___________________

Other:                   ___________________________________________________________________________________________________ $___________________
                                                                                                                             $___________________

                                                                                                                                       $__________________
                                                                                                                                       _
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

    
    ✔    No
        Yes ...........................   Issuer name and description:
_____________________________________________________________________________________________________________________                  $__________________

_____________________________________________________________________________________________________________________                  $__________________
_____________________________________________________________________________________________________________________                  $__________________
                                                                                                                                       $__________________
                                                                                                                                       $__________________
                Case 2:20-bk-00032-PS                              Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26$__________________
                                                                                                                      Desc           12
                                                                                                                               8 of __
                                                                                                                          page ___
                                                                   Main Document    Page 10 of 67
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   ✔   No
      Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

   ____________________________________________________________________________________________________________________                                 $_________________
   ____________________________________________________________________________________________________________________                                 $_________________
   ____________________________________________________________________________________________________________________                                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

   
   ✔   No
      Yes. Give specific information                                                                                         Federal:               0.00
                                                                                                                                                    $_________________
            about them, including whether
            you already filed the returns                                                                                     State:                 0.00
                                                                                                                                                    $_________________
            and the tax years. ......................                                                                                                0.00
                                                                                                                              Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   ✔   No
      Yes. Give specific information. .............
                                                                                                                             Alimony:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Maintenance:                0.00
                                                                                                                                                        $________________
                                                                                                                             Support:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Divorce settlement:         0.00
                                                                                                                                                        $________________
                                                                                                                             Property settlement:        0.00
                                                                                                                                                        $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   ✔   No
      Yes. Give specific information. ...............
                                                                                                                                                          0.00
                                                                                                                                                        $______________________



             Case 2:20-bk-00032-PS                                  Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                                        Desc        9     12
                                                                                                                                                                 page ___ of __
                                                                    Main Document    Page 11 of 67
31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
   
   ✔   Yes. Name the insurance company             Company name:                                                                                 Beneficiary:                                        Surrender or refund value:
            of each policy and list its value. ...
      State Farm Whole Life/Burial Insurance (Death Benefit: $10,539.89)
      ____________________________________________________________________________
                                                                                                                                                 Cristobar Rodriguez (father)
                                                                                                                                               ____________________________                            3,790.78
                                                                                                                                                                                                     $__________________
      ____________________________________________________________________________                                                             ____________________________                          $__________________
      ____________________________________________________________________________                                                               ___________________________                         $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   ✔    No
       Yes. Give specific information. .............
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   ✔    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   ✔    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   ✔    No
       Yes. Give specific information. ...........                                                                                                                                                   0.00
                                                                                                                                                                                                     $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ........................................................................................................................................................       4,052.00
                                                                                                                                                                                                     $_____________________




Pa rt 5 :        De sc ribe Any Busine ss-Re la t e d Prope rt y Y ou Ow n or H a ve a n I nt e re st I n. List a ny re a l e st a t e in Pa rt 1 .

37. Do you own or have any legal or equitable interest in any business-related property?

   
   ✔    No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned

       No
       Yes. Describe .......
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       No
       Yes. Describe .......                                                                                                                                                                      $_____________________



               Case 2:20-bk-00032-PS                                         Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                                                                             Desc          12
                                                                                                                                                                                                                 10 of __
                                                                                                                                                                                                            page ___
                                                                             Main Document    Page 12 of 67
40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       No
       Yes. Describe .......
                                                                                                                                                                                                   $_____________________


41. Inventory
       No
       Yes. Describe .......                                                                                                                                                                      $_____________________


42. Interests in partnerships or joint ventures

       No
       Yes. Describe ....... Name of entity:                                                                                                                         % of ownership:
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________


43. Customer lists, mailing lists, or other compilations
       No
       Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                     No
                     Yes. Describe.........
                                                                                                                                                                                                   $____________________


44. Any business-related property you did not already list
       No
       Yes. Give specific
                              ______________________________________________________________________________________                                                                               $____________________
        information .........
                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                      0.00
                                                                                                                                                                                                   $____________________
   for Part 5. Write that number here ........................................................................................................................................................ 




Pa rt 6 :        De sc ribe Any Fa rm - a nd Com m e rc ia l Fishing-Re la t e d Prope rt y You Ow n or H a ve a n I nt e re st In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   ✔    No. Go to Part 7.
       Yes. Go to line 47.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
       No
       Yes ...........................

                                                                                                                                                                                                     $___________________


               Case 2:20-bk-00032-PS                                         Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                                                                             Desc            12
                                                                                                                                                                                                                   11 of __
                                                                                                                                                                                                              page ___
                                                                             Main Document    Page 13 of 67
48. Crops—either growing or harvested

          No
          Yes. Give specific
           information. ............                                                                                                                                                                           $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
          No
          Yes ...........................
                                                                                                                                                                                                               $___________________

50. Farm and fishing supplies, chemicals, and feed

          No
          Yes ...........................
                                                                                                                                                                                                               $___________________

51. Any farm- and commercial fishing-related property you did not already list
          No
          Yes. Give specific
           information. ............                                                                                                                                                                           $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                  0.00
                                                                                                                                                                                                               $___________________
     for Part 6. Write that number here ........................................................................................................................................................ 



Pa rt 7 :           De sc ribe All Prope rt y Y ou Ow n or H a ve a n I nt e re st in T ha t Y ou Did N ot List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     ✔     No
          Yes. Give specific
           information. ............




54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................... 
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                                 $________________




Pa rt 8 :           List t he T ot a ls of Ea c h Pa rt of t his Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................
                                                                                                                                                                                                                408,892.00
                                                                                                                                                                                                               $________________

56. Part 2: Total vehicles, line 5                                                                                    23,397.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               3,600.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           4,052.00
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                               0.00
                                                                                                                + $________________
62. Total personal property. Add lines 56 through 61. ...................                                             31,049.00
                                                                                                                     $________________ Copy personal property total                                              31,049.00
                                                                                                                                                                                                              + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                       439,941.00
                                                                                                                                                                                                               $_________________


                  Case 2:20-bk-00032-PS                                           Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                                                                                 Desc            12
                                                                                                                                                                                                                            12 of __
                                                                                  Main Document    Page 14 of 67                                                                                                       page ___
 Fill in this information to identify your case:

                     Deborah Ann Rodriguez
 Debtor 1          __________________________________________________________________
                     First Name             Middle Name                Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Arizona    District of __________
                                                                                    (State)
 Case number
  (If known)
                      2:20-bk-00032-PS
                     ___________________________________________                                                                                   Check if this is an
                                                                                                                                                       amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                                4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions.                11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on       Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property               portion you own                           exemption you claim

                                                           Copy the value from                       Check only one box
                                                           Schedule A/B                              for each exemption
                 5206 West Milada Drive                                                                                             Ariz. Rev. Stat. § 33-1101 (A)
 Brief
 description:
                                                                   408,892.00
                                                                  $________________              147,468.00
                                                                                              ✔ $ ____________

                                                                                                100% of fair market value, up to
 Line from                                                                                         any applicable statutory limit
 Schedule A/B:        1.4
                 2016 Scion tC                                                                                                      Ariz. Rev. Stat. § 33-1125 (8)
 Brief
 description:
                                                                    13,397.00
                                                                  $________________            $ ____________
                                                                                               ✔  5,904.00
                                                                                                100% of fair market value, up to
 Line from                                                                                         any applicable statutory limit
 Schedule A/B:       3.1
              Household goods - four beds, four nightstands, sofa                                                                   Ariz. Rev. Stat. § 33-1123
 Brief        set, coffee table, two floor lamps, dinette set,
 description: television stand, four wall pictures
                                                                    2,100.00
                                                                  $________________              2,100.00
                                                                                              ✔ $ ____________

                                                                                                100% of fair market value, up to
 Line from                                                                                         any applicable statutory limit
 Schedule A/B:           6

 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes


               Case 2:20-bk-00032-PS
Official Form 106C
                                                          Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26
                                                           Schedule C: The Property You Claim as Exempt
                                                                                                                                                      Desc         2
                                                                                                                                                         page 1 of __
                                                          Main Document            Page 15 of 67
Debtor           Deborah Ann Rodriguez
                _______________________________________________________                                                      2:20-bk-00032-PS
                                                                                                      Case number (if known)_____________________________________
                First Name       Middle Name          Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                                   Amount of the                       Specific laws that allow exemption
                                                                          Current value of the   exemption you claim
         on Schedule A/B that lists this property                         portion you own
                                                                         Copy the value from    Check only one box
                                                                          Schedule A/B           for each exemption
               Electronics - television, cell phone, personal computer,                                                               Ariz. Rev. Stat. § 33-1123
Brief        and oDVD player
description:
                                                                           500.00
                                                                          $________________         500.00
                                                                                                 ✔ $ ____________

                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:         7
               Clothing - all clothing                                                                                                Ariz. Rev. Stat. § 33-1125 (1)
Brief
description:                                                              $________________
                                                                           500.00                
                                                                                                 ✔ $ ____________
                                                                                                     500.00
                                                                                                  100% of fair market value, up to
                                                                                                    any applicable statutory limit
Line from
Schedule A/B:          11
               Pets - two dogs                                                                                                        Ariz. Rev. Stat. § 33-1125(11)
Brief
description:                                                              $________________
                                                                           350.00                
                                                                                                 ✔ $ ____________
                                                                                                     350.00
                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:         13
               State Farm Bank (Checking)                                                                                             Ariz. Rev. Stat. § 33-1126 (A)(9)
Brief
description:
                                                                           261.22
                                                                          $________________         261.22
                                                                                                 ✔ $ ____________

                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:         17.1
               State Farm Whole Life/Burial Insurance (Death Benefit:                                                                 Ariz. Rev. Stat. § 33-1126 (A)(6) Ariz.
Brief          $10,539.89)                                                                                                            Rev. Stat. § 20-1131 (D)
description:
                                                                           3,790.78
                                                                          $________________         3,790.78
                                                                                                 ✔ $ ____________

                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:           31

Brief
description:                                                              $________________       $ ____________
                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:
Brief
description:                                                              $________________       $ ____________
                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:
Brief
description:                                                              $________________       $ ____________
                                                                                                  100% of fair market value, up to
                                                                                                    any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                              $________________       $ ____________
                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:
Brief
description:                                                              $________________       $ ____________
                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:
Brief
description:                                                              $________________       $ ____________
                                                                                                  100% of fair market value, up to
                                                                                                    any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                              $________________       $ ____________
                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:

             Case 2:20-bk-00032-PS
 Official Form 106C
                                                           Doc  14 Filed 01/16/20 Entered 01/16/20 14:42:26
                                                            Schedule C: The Property You Claim as Exempt
                                                                                                                                                      Desc
                                                                                                                                                       page ___  2
                                                                                                                                                            2 of __
                                                           Main Document             Page 16 of 67
 Fill in this information to identify your case:

                     Deborah Ann Rodriguez
 Debtor 1          __________________________________________________________________
                     First Name                  Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                  Middle Name                  Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Arizona    District of __________
                                                                                          (State)
 Case number         ___________________________________________
                      2:20-bk-00032-PS
 (If known)                                                                                                                                         Check if this is an
                                                                                                                                                       amended filing


Official Form 106D
Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
    
    ✔       Yes. Fill in all of the information below.


Pa rt 1 :       List All Se c ure d Cla im s
                                                                                                                          Column A          Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim                     Value of collateral   Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the                  that supports this    portion
   As much as possible, list the claims in alphabetical order according to the creditor’s name.          value of collateral.               claim                 If any

2.1 Arvest Central Mortgage Company                       Describe the property that secures the claim:                    261,424.00
                                                                                                                          $_________________   408,892.00 $____________
                                                                                                                                             $________________ 0.00
     ______________________________________               5206 West Milada Drive, Laveen , AZ 85339 - $408,892.00
     Creditor’s Name
                                                          The Debtor will continue to make the monthly payments.
     801 John Barrow Road
     ______________________________________
     Number            Street

     Suite 1
     ______________________________________               As of the date you file, the claim is: Check all that apply.
      Little Rock           AR 72205
     ______________________________________
                                                              Contingent
     City                          State   ZIP Code           Unliquidated
  Who owes the debt? Check one.                               Disputed
  
  ✔    Debtor 1 only                                      Nature of lien. Check all that apply.
      Debtor 2 only
                                                          
                                                          ✔    An agreement you made (such as mortgage or secured
      Debtor 1 and Debtor 2 only                              car loan)
      At least one of the debtors and another                Statutory lien (such as tax lien, mechanic’s lien)

    Check if this claim relates to a
                                                              Judgment lien from a lawsuit
     community debt                                           Other (including a right to offset) ____________________
                            2016
  Date debt was incurred ____________                     Last 4 digits of account number           4011664029
2.2 State Farm Bank, F.S.B                                Describe the property that secures the claim:                    7,493.00
                                                                                                                          $_________________   13,397.00
                                                                                                                                             $________________  0.00
                                                                                                                                                               $____________
     ______________________________________               2016 Scion tC - $13,397.00
     Creditor’s Name
                                                          The Debtor will continue to make the monthly payments.
      1 State Farm Plaza
     ______________________________________
     Number            Street

     ______________________________________
                                                          As of the date you file, the claim is: Check all that apply.
      Bloomington                  IL
     ______________________________________
                                           61710              Contingent
     City                          State   ZIP Code           Unliquidated
  Who owes the debt? Check one.                               Disputed
  
  ✔    Debtor 1 only                                      Nature of lien. Check all that apply.
      Debtor 2 only
                                                          
                                                          ✔    An agreement you made (such as mortgage or secured
      Debtor 1 and Debtor 2 only                              car loan)
      At least one of the debtors and another                Statutory lien (such as tax lien, mechanic’s lien)

    Check if this claim relates to a                         Judgment lien from a lawsuit
     community debt                                           Other (including a right to offset) ____________________
                            2017
  Date debt was incurred ____________                     Last 4 digits of account number           08547512691 00001
     Add the dollar value of your entries in Column A on this page. Write that number here:                       $_________________
                                                                                                                    268,917.00
                Case 2:20-bk-00032-PS                          Doc 14           Filed 01/16/20                Entered 01/16/20 14:42:26                 Desc
   Official Form 106D                              Schedule D: Creditors
                                                            Main         Who Have Claims
                                                                   Document              Secured
                                                                                      Page   17 by
                                                                                                 of Property
                                                                                                     67                                                  page 1 of ___
                                                                                                                                                                    2
 Debtor 1        Deborah  Ann Rodriguez
                  _______________________________________________________                                                      2:20-bk-00032-PS
                                                                                                         Case number (if known)_____________________________________
                   First Name      Middle Name        Last Name




               Addit iona l Pa ge                                                                                     Column A               Column B              Column C
Pa rt 1 :                                                                                                             Amount of claim        Value of collateral   Unsecured
               After listing any entries on this page, number them beginning with 2.3, followed                                              that supports this    portion
                                                                                                                      Do not deduct the
               by 2.4, and so forth.                                                                                  value of collateral.   claim                 If any
2.3    State Farm Bank, F.S.B                         Describe the property that secures the claim:               4,451.00
                                                                                                               $__________________    10,000.00
                                                                                                                                   $_________________   0.00
                                                                                                                                                      $________________

      ______________________________________          2012 Harley Davidson Road Glide - $10,000.00
      Creditor’s Name
       1 State Farm Plaza
      ______________________________________
      Number            Street

      ______________________________________
                                                      As of the date you file, the claim is: Check all that apply.
       Bloomington           IL   61710
      ______________________________________             Contingent
      City                        State    ZIP Code
                                                         Unliquidated
  Who owes the debt? Check one.                          Disputed
        Debtor 1 only
                                                      Nature of lien. Check all that apply.
  
  ✔      Debtor 2 only
        Debtor 1 and Debtor 2 only
                                                      
                                                      ✔   An agreement you made (such as mortgage or secured
                                                          car loan)
        At least one of the debtors and another
                                                         Statutory lien (such as tax lien, mechanic’s lien)
       Check if this claim relates to a                 Judgment lien from a lawsuit
        community debt                                   Other (including a right to offset) ____________________

                          2017
  Date debt was incurred ____________                 Last 4 digits of account number         0001

                                                      Describe the property that secures the claim:         $__________________ $_________________ $_________________
      _____________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

      ______________________________________          As of the date you file, the claim is: Check all that apply.
      ______________________________________              Contingent
      City                         State   ZIP Code       Unliquidated
  Who owes the debt? Check one.
                                                          Disputed
       Debtor 1 only
                                                      Nature of lien. Check all that apply.
       Debtor 2 only
       Debtor 1 and Debtor 2 only                     An agreement you made (such as mortgage or secured
                                                      car loan)
       At least one of the debtors and another
                                                       Statutory lien (such as tax lien, mechanic’s lien)
       Check if this claim relates to a                  Judgment lien from a lawsuit
        community debt
                                                          Other (including a right to offset) ____________________
  Date debt was incurred ____________                 Last 4 digits of account number


                                                      Describe the property that secures the claim:           $__________________ $_________________ $________________
      _____________________________________
      Creditor’s Name

      _____________________________________
      Number            Street

      _____________________________________

      ______________________________________          As of the date you file, the claim is: Check all that apply.
      City                         State   ZIP Code
                                                         Contingent

  Who owes the debt? Check one.
                                                         Unliquidated
                                                         Disputed
        Debtor 1 only
        Debtor 2 only
                                                      Nature of lien. Check all that apply.
        Debtor 1 and Debtor 2 only                      An agreement you made (such as mortgage or secured
        At least one of the debtors and another          car loan)
                                                         Statutory lien (such as tax lien, mechanic’s lien)
       Check if this claim relates to a                 Judgment lien from a lawsuit
        community debt                                   Other (including a right to offset) ____________________
  Date debt was incurred ____________                 Last 4 digits of account number

             Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
                                                                                                      4,451.00
             If this is the last page of your form, add the dollar value totals from all pages.                         273,368.00
             Write that number here:                                                                                  $_________________
               Case 2:20-bk-00032-PS                        Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                                             Desc
   Official Form 106D                                         Schedule
                                           Additional Page of Main     D: Creditors WhoPage
                                                                    Document           Have Claims
                                                                                             18 ofSecured
                                                                                                    67 by Property                                        page ___
                                                                                                                                                                2 of ___
                                                                                                                                                                     2
  Fill in this information to identify your case:

                           Deborah Ann Rodriguez
      Debtor 1           __________________________________________________________________
                          First Name                    Middle Name               Last Name

      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name                    Middle Name               Last Name


      United States Bankruptcy Court for the: ______________________
                                              District of Arizona    District of __________
                                                                                              (State)
      Case number         ___________________________________________
                            2:20-bk-00032-PS
                                                                                                                                                          Check if this is an
      (If known)                                                                                                                                             amended filing


 Official Form 106E/F
 Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                                          12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Pa rt 1 :            List All of Y our PRIORI T Y Unse c ure d Cla im s

 1. Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.
         
         ✔ Yes.

 2.      List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
         each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
         nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
         unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                         Total claim    Priority     Nonpriority
                                                                                                                                                        amount       amount
            Apache County Treasurer's Office
2.1                                                                                                                                   6.86           6.86        0.00
                                                                         Last 4 digits of account number      R0019305              $_____________ $___________ $____________
           ____________________________________________
           Priority Creditor’s Name
            75 West Cleveland Street                                     When was the debt incurred?          2019
                                                                                                              ____________
           ____________________________________________
           Number            Street
           ____________________________________________                  As of the date you file, the claim is: Check all that apply.
           Saint Johns              AZ      85936
           ____________________________________________                     Contingent
           City                                 State    ZIP Code
                                                                            Unliquidated
           Who incurred the debt? Check one.                                Disputed
           
           ✔      Debtor 1 only                                          Type of PRIORITY unsecured claim:
                 Debtor 2 only                                             Domestic support obligations
                 Debtor 1 and Debtor 2 only                             
                                                                         ✔   Taxes and certain other debts you owe the government
                 At least one of the debtors and another
                                                                            Claims for death or personal injury while you were
                 Check if this claim is for a community debt                intoxicated
                                                                            Other. Specify
           Is the claim subject to offset?
           ✔ No

                 Yes
             Cochise County Treasurer
2.2
                                                                         Last 4 digits of account number      122-05-14804               11.12
                                                                                                                                        $_____________  11.12
                                                                                                                                                       $___________  0.00
                                                                                                                                                                    $____________
            ____________________________________________
            Priority Creditor’s Name                                     When was the debt incurred?          2019
                                                                                                              ____________
             P.O. Box 1778
            ____________________________________________
            Number           Street                                      As of the date you file, the claim is: Check all that apply.
            ____________________________________________                    Contingent
             Bisbee                  AZ     85603
            ____________________________________________                    Unliquidated
            City                                State    ZIP Code
                                                                            Disputed
            Who incurred the debt? Check one.
           
           ✔       Debtor 1 only                                         Type of PRIORITY unsecured claim:
                  Debtor 2 only                                            Domestic support obligations
                  Debtor 1 and Debtor 2 only                            
                                                                         ✔   Taxes and certain other debts you owe the government
                  At least one of the debtors and another
                                                                            Claims for death or personal injury while you were
                  Check if this claim is for a community debt               intoxicated
                                                                            Other. Specify
           Is the claim subject to offset?
           
           ✔       No
                  Yes
                    Case 2:20-bk-00032-PS                             Doc 14     Filed 01/16/20               Entered 01/16/20 14:42:26                      Desc
 Official Form 106E/F                                            Schedule
                                                                   Main E/F: Creditors Who Have
                                                                          Document         Page Unsecured
                                                                                                  19 of 67Claims                                               page 1 of ___
                                                                                                                                                                         12
                    Deborah Ann Rodriguez                                                                                          2:20-bk-00032-PS
Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name     Middle Name           Last Name


Pa rt 1 :          Y our PRI ORI T Y Unse c ure d Cla im s ─ Cont inua t ion Pa ge

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                              Total claim   Priority    Nonpriority
                                                                                                                                                  amount      amount

2.3   Mohave County Treasurer
                                                                                                                                     47.62         47.62       0.00
                                                                    Last 4 digits of account number                                $____________ $__________ $____________
                                                                                                         R0171789
      ____________________________________________
      Priority Creditor’s Name                                      When was the debt incurred?           2019
                                                                                                         ____________
      P.O. Box 712
      ____________________________________________
      Number             Street                                     As of the date you file, the claim is: Check all that apply.
      ____________________________________________                     Contingent
      Kingman                  AZ     86402                            Unliquidated
      ____________________________________________
      City                                State    ZIP Code            Disputed
                                                                    Type of PRIORITY unsecured claim:
      Who incurred the debt? Check one.                                Domestic support obligations
      
      ✔      Debtor 1 only                                          
                                                                    ✔   Taxes and certain other debts you owe the government
            Debtor 2 only                                             Claims for death or personal injury while you were
                                                                        intoxicated
            Debtor 1 and Debtor 2 only
                                                                       Other. Specify
            At least one of the debtors and another

            Check if this claim is for a community debt
      Is the claim subject to offset?
      ✔
            No
            Yes
2.4    Navajo County Treasurer
                                                                                                                                    5.76           5.76        0.00
                                                                    Last 4 digits of account number                                $____________ $__________ $____________
                                                                                                         104-46-017C
      ____________________________________________                  When was the debt incurred?           2019
                                                                                                         ____________
      Priority Creditor’s Name
       P.O. Box 668
      ____________________________________________                  As of the date you file, the claim is: Check all that apply.
      Number             Street

      ____________________________________________                     Contingent
                                                                       Unliquidated
       Holbrook                           AZ
      ____________________________________________
                                                  86025                Disputed
      City                                State    ZIP Code
                                                                    Type of PRIORITY unsecured claim:
      Who incurred the debt? Check one.                                Domestic support obligations
      
      ✔      Debtor 1 only                                          
                                                                    ✔   Taxes and certain other debts you owe the government
            Debtor 2 only                                             Claims for death or personal injury while you were
            Debtor 1 and Debtor 2 only                                 intoxicated
            At least one of the debtors and another                   Other. Specify

            Check if this claim is for a community debt
      Is the claim subject to offset?
      
      ✔      No
            Yes


                                                                    Last 4 digits of account number                                $____________ $__________ $____________

      ____________________________________________
      Priority Creditor’s Name                                      When was the debt incurred?          ____________
      ____________________________________________
      Number            Street                                      As of the date you file, the claim is: Check all that apply.
      ____________________________________________                     Contingent
                                                                       Unliquidated
      ____________________________________________
      City                                State   ZIP Code             Disputed
                                                                    Type of PRIORITY unsecured claim:
      Who incurred the debt? Check one.                                Domestic support obligations

       Debtor 1 only                                                  Taxes and certain other debts you owe the government

       Debtor 2 only                                                  Claims for death or personal injury while you were
                                                                        intoxicated
       Debtor 1 and Debtor 2 only                                     Other. Specify
       At least one of the debtors and another
       Check if this claim is for a community debt
      Is the claim subject to offset?
            No
            Yes
               Case 2:20-bk-00032-PS                          Doc 14        Filed 01/16/20               Entered 01/16/20 14:42:26                     Desc
  Official Form 106E/F                                    Schedule
                                                            Main E/F: Creditors Who Have
                                                                   Document         Page Unsecured
                                                                                           20 of 67Claims                                                     page __
                                                                                                                                                                   2 of ___
                                                                                                                                                                         12
                       Deborah Ann Rodriguez                                                                                         2:20-bk-00032-PS
 Debtor 1             _______________________________________________________                                 Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

          Barclays Bank Delaware                                                                                                                                    Total claim
4.1
                                                                                          Last 4 digits of account number       5148875058435022
         _____________________________________________________________                                                                                              10,025.00
                                                                                                                                                                  $__________________
         Nonpriority Creditor’s Name
                                                                                          When was the debt incurred?           2014
                                                                                                                                ____________
          P.O. Box 60517
         _____________________________________________________________
         Number            Street

         _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         City of Industry                    CA       91716
         _____________________________________________________________                       Contingent
         City                                             State          ZIP Code
                                                                                             Unliquidated
         Who incurred the debt? Check one.                                                   Disputed
         
         ✔      Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only                                                   Student loans
               At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts

         Is the claim subject to offset?
                                                                                          
                                                                                          ✔   Other. Specify Credit Card Debt

         
         ✔      No
               Yes
4.2
         Best Buy Credit Services                                                         Last 4 digits of account number       6035350274542849                   10,869.00
                                                                                                                                                                  $__________________
         _____________________________________________________________                    When was the debt incurred?           ____________
                                                                                                                                2015
         Nonpriority Creditor’s Name
         P.O. Box 78009
         _____________________________________________________________
         Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
          Phoenix                                         AZ
                                                      85062
                                                                                             Contingent
         _____________________________________________________________                       Unliquidated
         City                                             State          ZIP Code
         Who incurred the debt? Check one.                                                   Disputed
         
         ✔      Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                             Student loans
               Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                       that you did not report as priority claims

               Check if this claim is for a community debt
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify Credit Card Debt
         Is the claim subject to offset?
         
         ✔      No
               Yes
          Capital One
4.3
                                                                                          Last 4 digits of account number       8435
         _____________________________________________________________                                                                                             6,137.00
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?           2013
                                                                                                                                ____________
         P.O. Box 85520
         _____________________________________________________________
         Number            Street

         _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         Richmond                            VA       23285
         _____________________________________________________________                       Contingent
         City                                             State          ZIP Code
         Who incurred the debt? Check one.                                                   Unliquidated

         
         ✔      Debtor 1 only
                                                                                             Disputed

               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                   Student loans
               At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts

         Is the claim subject to offset?                                                  
                                                                                          ✔   Other. Specify Credit Card Debt

         
         ✔ No

               Yes

                  Case 2:20-bk-00032-PS                           Doc 14            Filed 01/16/20           Entered 01/16/20 14:42:26                            Desc
      Official Form 106E/F                                     Schedule
                                                                 Main E/F: Creditors Who Have
                                                                        Document         Page Unsecured
                                                                                                21 of 67Claims                                                           page __
                                                                                                                                                                              3 of ___
                                                                                                                                                                                   12
                      Deborah Ann Rodriguez                                                                                          2:20-bk-00032-PS
 Debtor 1            _______________________________________________________                                  Case number (if known)_____________________________________
                     First Name       Middle Name           Last Name


 Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.4     Comenity Bank/Forever 21
       _____________________________________________________________                      Last 4 digits of account number       5780971022276916
       Nonpriority Creditor’s Name                                                                                                                                  700.00
                                                                                                                                                                  $__________________
        P.O. Box 182120                                                                   When was the debt incurred?           2016
                                                                                                                                ____________
       _____________________________________________________________
       Number             Street

       _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
        Columbus                                         OH
       _____________________________________________________________
                                                                        43218
       City                                              State          ZIP Code             Contingent
                                                                                             Unliquidated
       Who incurred the debt? Check one.
                                                                                             Disputed
       
       ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                             Student loans
              Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
              At least one of the debtors and another                                        that you did not report as priority claims

              Check if this claim is for a community debt                                   Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify Credit Card Debt
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.5     Comenity Bank/GameStop                                                            Last 4 digits of account number       7788400030981216                   1,008.00
                                                                                                                                                                  $__________________
       _____________________________________________________________                      When was the debt incurred?           ____________
                                                                                                                                2014
       Nonpriority Creditor’s Name
        P.O. Box 182120
       _____________________________________________________________
       Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Columbus                            OH       43218                                    Contingent
       _____________________________________________________________
       City                                              State          ZIP Code             Unliquidated
       Who incurred the debt? Check one.                                                     Disputed
       
       ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                             Student loans

              At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
              Check if this claim is for a community debt                                   Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify Credit Card Debt
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.6     Comenity Bank/The Home Depot                                                      Last 4 digits of account number       6035320816415069
        _____________________________________________________________                                                                                              3,599.00
                                                                                                                                                                  $_________________
        Nonpriority Creditor’s Name                                                       When was the debt incurred?           2015
                                                                                                                                ____________
        P.O. Box 6497
        _____________________________________________________________
        Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Sioux Falls                         SD       57117
        _____________________________________________________________                        Contingent
        City                                             State           ZIP Code
        Who incurred the debt? Check one.                                                    Unliquidated

       
       ✔       Debtor 1 only
                                                                                             Disputed

              Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only                                                    Student loans
              At least one of the debtors and another                                       Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
              Check if this claim is for a community debt                                   Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                    
                                                                                          ✔   Other. Specify Credit Card Debt
       
       ✔       No
              Yes

                Case 2:20-bk-00032-PS                            Doc 14             Filed 01/16/20           Entered 01/16/20 14:42:26                            Desc
   Official Form 106E/F                                       Schedule
                                                                Main E/F: Creditors Who Have
                                                                       Document         Page Unsecured
                                                                                               22 of 67Claims                                                            page __
                                                                                                                                                                              4 of ___
                                                                                                                                                                                   12
                      Deborah Ann Rodriguez                                                                                          2:20-bk-00032-PS
 Debtor 1            _______________________________________________________                                  Case number (if known)_____________________________________
                     First Name       Middle Name           Last Name


 Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.7     Department Stores National Bank/Macy's
       _____________________________________________________________                      Last 4 digits of account number       377481514653606
       Nonpriority Creditor’s Name                                                                                                                                  5,267.68
                                                                                                                                                                  $__________________
        9111 Duke Boulevard                                                               When was the debt incurred?           ____________
       _____________________________________________________________
       Number             Street

       _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
        Mason                                            OH
       _____________________________________________________________
                                                                        45040
       City                                              State          ZIP Code             Contingent
                                                                                             Unliquidated
       Who incurred the debt? Check one.
                                                                                             Disputed
       
       ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                             Student loans
              Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
              At least one of the debtors and another                                        that you did not report as priority claims

              Check if this claim is for a community debt                                   Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify Credit Card Debt
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.8     Discover Financial Services, LLC                                                  Last 4 digits of account number       2234                               16,099.00
                                                                                                                                                                  $__________________
       _____________________________________________________________                      When was the debt incurred?           ____________
                                                                                                                                2015
       Nonpriority Creditor’s Name
        P.O. Box 15316
       _____________________________________________________________
       Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Wilmington                          DE       19850                                    Contingent
       _____________________________________________________________
       City                                              State          ZIP Code             Unliquidated
       Who incurred the debt? Check one.                                                     Disputed
       
       ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                             Student loans

              At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
              Check if this claim is for a community debt                                   Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify Credit Card Debt
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.9     Lending Club                                                                      Last 4 digits of account number       129026721
        _____________________________________________________________                                                                                              20,025.00
                                                                                                                                                                  $_________________
        Nonpriority Creditor’s Name                                                       When was the debt incurred?           2018
                                                                                                                                ____________
        71 Stevenson Place
        _____________________________________________________________
        Number             Street
        Suite 300                                                                         As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        San Francisco                       CA       94105
        _____________________________________________________________                        Contingent
        City                                             State           ZIP Code
        Who incurred the debt? Check one.                                                    Unliquidated

       
       ✔       Debtor 1 only
                                                                                             Disputed

              Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only                                                    Student loans
              At least one of the debtors and another                                       Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
              Check if this claim is for a community debt                                   Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                    
                                                                                          ✔   Other. Specify Monies Loaned / Advanced
       
       ✔       No
              Yes

                Case 2:20-bk-00032-PS                            Doc 14             Filed 01/16/20           Entered 01/16/20 14:42:26                            Desc
   Official Form 106E/F                                       Schedule
                                                                Main E/F: Creditors Who Have
                                                                       Document         Page Unsecured
                                                                                               23 of 67Claims                                                            page __
                                                                                                                                                                              5 of ___
                                                                                                                                                                                   12
                       Deborah Ann Rodriguez                                                                                          2:20-bk-00032-PS
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                     Total claim
4.10 Lending Club                                                                                                                95785453
        _____________________________________________________________                      Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                  15,372.00
                                                                                                                                                                   $__________________
         71 Stevenson Place                                                                When was the debt incurred?           2016
                                                                                                                                 ____________
        _____________________________________________________________
        Number             Street
         Suite 300
        _______________________________________________________________________
                                                                                           As of the date you file, the claim is: Check all that apply.
         San Francisco                                    CA
        _____________________________________________________________
                                                                         94105
        City                                              State          ZIP Code             Contingent
                                                                                              Unliquidated
        Who incurred the debt? Check one.
                                                                                              Disputed
        
        ✔       Debtor 1 only
                                                                                           Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                              Student loans
               Debtor 1 and Debtor 2 only
                                                                                              Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                        that you did not report as priority claims

               Check if this claim is for a community debt                                   Debts to pension or profit-sharing plans, and other similar debts
                                                                                           
                                                                                           ✔   Other. Specify Monies Loaned / Advanced
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.11 Nordstrom/TD Bank, USA                                                                Last 4 digits of account number       3398                               9,202.00
                                                                                                                                                                   $__________________
        _____________________________________________________________                      When was the debt incurred?           ____________
                                                                                                                                 2016
        Nonpriority Creditor’s Name
         13531 East Caley Avenue
        _____________________________________________________________
        Number              Street
                                                                                           As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Englewood                           CO       80111                                    Contingent
        _____________________________________________________________
        City                                              State          ZIP Code             Unliquidated
        Who incurred the debt? Check one.                                                     Disputed
        
        ✔       Debtor 1 only
                                                                                           Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                              Student loans

               At least one of the debtors and another
                                                                                              Obligations arising out of a separation agreement or divorce
                                                                                               that you did not report as priority claims
               Check if this claim is for a community debt                                   Debts to pension or profit-sharing plans, and other similar debts
                                                                                           
                                                                                           ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.12     Sears                                                                             Last 4 digits of account number       5121072132814478
         _____________________________________________________________                                                                                              2,130.00
                                                                                                                                                                   $_________________
         Nonpriority Creditor’s Name                                                       When was the debt incurred?           2016
                                                                                                                                 ____________
         P.O. Box 6283
         _____________________________________________________________
         Number             Street
                                                                                           As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Sioux Falls                         SD       57117
         _____________________________________________________________                        Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                    Unliquidated

        
        ✔       Debtor 1 only
                                                                                              Disputed

               Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                    Student loans
               At least one of the debtors and another                                       Obligations arising out of a separation agreement or divorce
                                                                                               that you did not report as priority claims
               Check if this claim is for a community debt                                   Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                    
                                                                                           ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes

                 Case 2:20-bk-00032-PS                            Doc 14             Filed 01/16/20           Entered 01/16/20 14:42:26                            Desc
   Official Form 106E/F                                        Schedule
                                                                 Main E/F: Creditors Who Have
                                                                        Document         Page Unsecured
                                                                                                24 of 67Claims                                                            page __
                                                                                                                                                                               6 of ___
                                                                                                                                                                                    12
                       Deborah Ann Rodriguez                                                                                          2:20-bk-00032-PS
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                     Total claim
4.13 Synchrony Bank/Amazon                                                                                                       6045781103146998
        _____________________________________________________________                      Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                  1,560.29
                                                                                                                                                                   $__________________
         P.O. Box 960013                                                                   When was the debt incurred?           2017
                                                                                                                                 ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                           As of the date you file, the claim is: Check all that apply.
         Orlando                                          FL
        _____________________________________________________________
                                                                         32896
        City                                              State          ZIP Code             Contingent
                                                                                              Unliquidated
        Who incurred the debt? Check one.
                                                                                              Disputed
        
        ✔       Debtor 1 only
                                                                                           Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                              Student loans
               Debtor 1 and Debtor 2 only
                                                                                              Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                        that you did not report as priority claims

               Check if this claim is for a community debt                                   Debts to pension or profit-sharing plans, and other similar debts
                                                                                           
                                                                                           ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.14 Synchrony Bank/Evine                                                                  Last 4 digits of account number       6045771201817111                   671.74
                                                                                                                                                                   $__________________
        _____________________________________________________________                      When was the debt incurred?           ____________
                                                                                                                                 2014
        Nonpriority Creditor’s Name
         4125 Windward Plaza
        _____________________________________________________________
        Number              Street
                                                                                           As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Alpharetta                          GA       30005                                    Contingent
        _____________________________________________________________
        City                                              State          ZIP Code             Unliquidated
        Who incurred the debt? Check one.                                                     Disputed
        
        ✔       Debtor 1 only
                                                                                           Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                              Student loans

               At least one of the debtors and another
                                                                                              Obligations arising out of a separation agreement or divorce
                                                                                               that you did not report as priority claims
               Check if this claim is for a community debt                                   Debts to pension or profit-sharing plans, and other similar debts
                                                                                           
                                                                                           ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.15     Synchrony Bank/HSN                                                                Last 4 digits of account number       5780979576893358
         _____________________________________________________________                                                                                              Unknown
                                                                                                                                                                   $_________________
         Nonpriority Creditor’s Name                                                       When was the debt incurred?           ____________
         P.O. Box 965017
         _____________________________________________________________
         Number             Street
                                                                                           As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Orlando                             FL       32896
         _____________________________________________________________                        Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                    Unliquidated

        
        ✔       Debtor 1 only
                                                                                              Disputed

               Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                    Student loans
               At least one of the debtors and another                                       Obligations arising out of a separation agreement or divorce
                                                                                               that you did not report as priority claims
               Check if this claim is for a community debt                                   Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                    
                                                                                           ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes

                 Case 2:20-bk-00032-PS                            Doc 14             Filed 01/16/20           Entered 01/16/20 14:42:26                            Desc
   Official Form 106E/F                                        Schedule
                                                                 Main E/F: Creditors Who Have
                                                                        Document         Page Unsecured
                                                                                                25 of 67Claims                                                            page __
                                                                                                                                                                               7 of ___
                                                                                                                                                                                    12
                       Deborah Ann Rodriguez                                                                                          2:20-bk-00032-PS
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                     Total claim
4.16 Synchrony Bank/QVC                                                                                                          6045761025209017
        _____________________________________________________________                      Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                  1,390.32
                                                                                                                                                                   $__________________
         4125 Windward Plaza                                                               When was the debt incurred?           2016
                                                                                                                                 ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                           As of the date you file, the claim is: Check all that apply.
         Alpharetta                                       GA
        _____________________________________________________________
                                                                         30005
        City                                              State          ZIP Code             Contingent
                                                                                              Unliquidated
        Who incurred the debt? Check one.
                                                                                              Disputed
        
        ✔       Debtor 1 only
                                                                                           Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                              Student loans
               Debtor 1 and Debtor 2 only
                                                                                              Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                        that you did not report as priority claims

               Check if this claim is for a community debt                                   Debts to pension or profit-sharing plans, and other similar debts
                                                                                           
                                                                                           ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.17 Synchrony Bank/Walmart                                                                Last 4 digits of account number       5239141112479245                   3,088.08
                                                                                                                                                                   $__________________
        _____________________________________________________________                      When was the debt incurred?           ____________
                                                                                                                                 2016
        Nonpriority Creditor’s Name
         P.O. Box 965024
        _____________________________________________________________
        Number              Street
                                                                                           As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        El Paso                             TX       79998                                    Contingent
        _____________________________________________________________
        City                                              State          ZIP Code             Unliquidated
        Who incurred the debt? Check one.                                                     Disputed
        
        ✔       Debtor 1 only
                                                                                           Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                              Student loans

               At least one of the debtors and another
                                                                                              Obligations arising out of a separation agreement or divorce
                                                                                               that you did not report as priority claims
               Check if this claim is for a community debt                                   Debts to pension or profit-sharing plans, and other similar debts
                                                                                           
                                                                                           ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.18     TD Bank, USA/Target Credit Card                                                   Last 4 digits of account number       00058168404
         _____________________________________________________________                                                                                              2,189.19
                                                                                                                                                                   $_________________
         Nonpriority Creditor’s Name                                                       When was the debt incurred?           2015
                                                                                                                                 ____________
         P.O. Box 673
         _____________________________________________________________
         Number             Street
                                                                                           As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Minneapolis                         MN       55440
         _____________________________________________________________                        Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                    Unliquidated

        
        ✔       Debtor 1 only
                                                                                              Disputed

               Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                    Student loans
               At least one of the debtors and another                                       Obligations arising out of a separation agreement or divorce
                                                                                               that you did not report as priority claims
               Check if this claim is for a community debt                                   Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                    
                                                                                           ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes

                 Case 2:20-bk-00032-PS                            Doc 14             Filed 01/16/20           Entered 01/16/20 14:42:26                            Desc
   Official Form 106E/F                                        Schedule
                                                                 Main E/F: Creditors Who Have
                                                                        Document         Page Unsecured
                                                                                                26 of 67Claims                                                            page __
                                                                                                                                                                               8 of ___
                                                                                                                                                                                    12
                    Deborah Ann Rodriguez                                                                                          2:20-bk-00032-PS
Debtor 1           _______________________________________________________                                   Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.19 US Bank                                                                                                                  4037840084595220
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 168.00
                                                                                                                                                                $__________________
       800 Nicollet Mall                                                                When was the debt incurred?           2013
                                                                                                                              ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
       Minneapolis                                     MN
      _____________________________________________________________
                                                                      55402
      City                                             State          ZIP Code             Contingent
                                                                                           Unliquidated
      Who incurred the debt? Check one.
                                                                                           Disputed
      
      ✔      Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                           Student loans
            Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                        that you did not report as priority claims

            Check if this claim is for a community debt                                   Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify Credit Card Debt
      Is the claim subject to offset?
      
      ✔      No
            Yes
4.20 US Bank                                                                            Last 4 digits of account number       372515000379732                    6,360.00
                                                                                                                                                                $__________________
      _____________________________________________________________                     When was the debt incurred?           ____________
                                                                                                                              2016
      Nonpriority Creditor’s Name
       800 Nicollet Mall
      _____________________________________________________________
      Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
      Minneapolis                         MN       55402                                   Contingent
      _____________________________________________________________
      City                                             State          ZIP Code             Unliquidated
      Who incurred the debt? Check one.                                                    Disputed
      
      ✔      Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                           Student loans

            At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
            Check if this claim is for a community debt                                   Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify Credit Card Debt
      Is the claim subject to offset?
      
      ✔      No
            Yes

                                                                                        Last 4 digits of account number
      _____________________________________________________________                                                                                             $_________________
      Nonpriority Creditor’s Name                                                       When was the debt incurred?           ____________

      _____________________________________________________________
      Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________

      _____________________________________________________________                        Contingent
      City                                             State           ZIP Code
      Who incurred the debt? Check one.                                                    Unliquidated

            Debtor 1 only
                                                                                           Disputed

            Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                                    Student loans
            At least one of the debtors and another                                       Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
            Check if this claim is for a community debt                                   Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                      Other. Specify
            No
            Yes

              Case 2:20-bk-00032-PS                            Doc 14             Filed 01/16/20           Entered 01/16/20 14:42:26                            Desc
  Official Form 106E/F                                      Schedule
                                                              Main E/F: Creditors Who Have
                                                                     Document         Page Unsecured
                                                                                             27 of 67Claims                                                            page __
                                                                                                                                                                            9 of ___
                                                                                                                                                                                 12
                 Deborah Ann Rodriguez                                                                                 2:20-bk-00032-PS
Debtor 1        _______________________________________________________                             Case number (if known)_____________________________________
                First Name    Middle Name           Last Name



Pa rt 3 :     List Ot he rs t o Be N ot ifie d About a De bt T ha t Y ou Alre a dy List e d

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      Firstsource Advantage, LLC                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      205 Bryant Woods South                                                       4.18 of (Check one):
                                                                              Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street                                                                                
                                                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured Claims

     _____________________________________________________
                                                                              Last 4 digits of account number     4547
      Amherst                               NY   14228
     _____________________________________________________
     City                                   State               ZIP Code

      Patenaude & Felix, A.P.C.                                               On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      3260 North Hayden Road                                                        4.3 of (Check one):
                                                                              Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street                                                                                
                                                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured
      Suite 209
     _____________________________________________________
                                                                              Claims

      Scottsdale                      AZ         85251
     _____________________________________________________                    Last 4 digits of account number
     City                                   State               ZIP Code

      Patenaude & Felix, A.P.C.                                               On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      3260 North Hayden Road                                                       4.17 of (Check one):
                                                                              Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street                                                                                
                                                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured
      Suite 209
     _____________________________________________________
                                                                              Claims

     Scottsdale                       AZ         85251
     _____________________________________________________                    Last 4 digits of account number     8410
     City                                   State               ZIP Code

      Patenaude & Felix, A.P.C.                                               On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      3260 North Hayden Road                                                        4.13 of (Check one):
                                                                              Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street                                                                                
                                                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured
      Suite 209
     _____________________________________________________
                                                                              Claims

      Scottsdale                      AZ         85251
     _____________________________________________________                    Last 4 digits of account number     8861
     City                                   State               ZIP Code

      Patenaude & Felix, A.P.C.
     _____________________________________________________                    On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      3260 North Hayden Road                                                        4.16 of (Check one):
                                                                              Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street                                                                                
                                                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured
      Suite 209
     _____________________________________________________
                                                                              Claims

      Scottsdale                            AZ   85251
     _____________________________________________________                    Last 4 digits of account number     7708
     City                                   State               ZIP Code

      Patenaude & Felix, A.P.C.
     _____________________________________________________                    On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      3260 North Hayden Road
     _____________________________________________________
                                                                                    4.14 of (Check one):
                                                                              Line _____                    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                                
                                                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured
      Suite 209
     _____________________________________________________
                                                                              Claims

      Scottsdale                      AZ         85251
     _____________________________________________________                    Last 4 digits of account number     8110
     City                                   State               ZIP Code

      Portfolio Recovery Associates
     _____________________________________________________                    On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      120 Corporate Boulevard                                                       4.7 of (Check one):
                                                                              Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street
                                                                                                           
                                                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured
      Suite 1                                                                 Claims
     _____________________________________________________
      Norfolk                         VA         23502
     _____________________________________________________
                                                                              Last 4 digits of account number     3606
     City                                   State               ZIP Code

            Case 2:20-bk-00032-PS                       Doc 14             Filed 01/16/20         Entered 01/16/20 14:42:26                  Desc
  Official Form 106E/F                               Schedule
                                                       Main E/F: Creditors Who Have
                                                              Document         Page Unsecured
                                                                                      28 of 67Claims                                                   page __
                                                                                                                                                            10 of ___
                                                                                                                                                                   12
                 Deborah Ann Rodriguez                                                                                 2:20-bk-00032-PS
Debtor 1        _______________________________________________________                             Case number (if known)_____________________________________
                First Name    Middle Name           Last Name



Pa rt 3 :     List Ot he rs t o Be N ot ifie d About a De bt T ha t Y ou Alre a dy List e d

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      Radius Global Solutions                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      P.O. Box 390846                                                              4.7 of (Check one):
                                                                              Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street                                                                                
                                                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured Claims

     _____________________________________________________
                                                                              Last 4 digits of account number     4982
      Minneapolis                           MN   55439
     _____________________________________________________
     City                                   State               ZIP Code


     _____________________________________________________                    On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                              Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                                 Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                              Claims

     _____________________________________________________                    Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                    On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                              Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                                 Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                              Claims

     _____________________________________________________                    Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                    On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                              Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                                 Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                              Claims

     _____________________________________________________                    Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                    On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                              Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                                 Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                              Claims

     _____________________________________________________                    Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                    On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                              Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                                 Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                              Claims

     _____________________________________________________                    Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                    On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________                    Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street
                                                                                                            Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________                    Claims

     _____________________________________________________
     City                                   State               ZIP Code
                                                                              Last 4 digits of account number

            Case 2:20-bk-00032-PS                       Doc 14             Filed 01/16/20         Entered 01/16/20 14:42:26                  Desc
  Official Form 106E/F                               Schedule
                                                       Main E/F: Creditors Who Have
                                                              Document         Page Unsecured
                                                                                      29 of 67Claims                                                   page __
                                                                                                                                                            11 of ___
                                                                                                                                                                   12
               Deborah Ann Rodriguez                                                                          2:20-bk-00032-PS
Debtor 1       _______________________________________________________                     Case number (if known)_____________________________________
               First Name    Middle Name         Last Name



Pa rt 4 :   Add the Am ount s for Ea c h Type of U nse c ure d Cla im


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                      Total claim


                6a. Domestic support obligations                              6a.                         0.00
Total claims                                                                          $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                6b.                        71.36
                                                                                      $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                               6c.                         0.00
                                                                                      $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                   6d.
                                                                                    + $_________________________
                                                                                                          0.00


                6e. Total. Add lines 6a through 6d.                           6e.
                                                                                                         71.36
                                                                                      $_________________________



                                                                                      Total claim

                6f. Student loans                                             6f.                          0.00
Total claims                                                                           $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                    6g.
                                                                                                           0.00
                                                                                       $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                             6h.                          0.00
                                                                                      $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                   6i.   + $_________________________
                                                                                                  115,861.30


                6j. Total. Add lines 6f through 6i.                           6j.
                                                                                                   115,861.30
                                                                                       $_________________________




            Case 2:20-bk-00032-PS                      Doc 14      Filed 01/16/20        Entered 01/16/20 14:42:26                  Desc
  Official Form 106E/F                                Schedule
                                                        Main E/F: Creditors Who Have
                                                               Document         Page Unsecured
                                                                                       30 of 67Claims                                       page __
                                                                                                                                                 12 of ___
                                                                                                                                                        12
 Fill in this information to identify your case:

                       Deborah Ann Rodriguez
 Debtor               __________________________________________________________________
                       First Name             Middle Name             Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name             Last Name


 United States Bankruptcy Court for the:______________________
                                        District of Arizona    District of ________
                                                                                  (State)
 Case number            2:20-bk-00032-PS
                       ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
      
      ✔    Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                                 State what the contract or lease is for


2.1                                                                                         Internet, Telephone, and Cable/Satellite Television Service Agreement
       Cox Communications
      _____________________________________________________________________
      Name                                                                                  Purchaser
       P.O. Box 1259                                         Department 97747
      _____________________________________________________________________
      Street
       Oaks                        PA                 19456
      _____________________________________________________________________
      City                         State   ZIP Code

2.2                                                                                         Cell Phone Service Agreement
       T-Mobile USA, Inc.
      _____________________________________________________________________                 Purchaser
      Name
       12920 Southeast 38th Street
      _____________________________________________________________________
      Street
       Bellevue                    WA                 98006
      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

               Case 2:20-bk-00032-PS                        Doc 14    Filed 01/16/20             Entered 01/16/20 14:42:26                  Desc
Official Form 106G                             ScheduleMain
                                                       G: Executory Contracts and
                                                             Document             Unexpired
                                                                                Page   31 ofLeases
                                                                                               67                                                       1
                                                                                                                                              page 1 of ___
 Fill in this information to identify your case:

                     Deborah Ann Rodriguez
 Debtor 1           __________________________________________________________________
                        First Name                    Middle Name              Last Name

 Debtor 2               ________________________________________________________________
 (Spouse, if filing) First Name                       Middle Name              Last Name


 United States Bankruptcy Court for the:_______________________
                                         District of Arizona    District of ________
                                                                                           (State)
 Case number              2:20-bk-00032-PS
                        ____________________________________________
  (If known)
                                                                                                                                              Check if this is an
                                                                                                                                                amended filing

Official Form 106H
Sc he dule H : Y our Code bt ors                                                                                                                          12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      
      ✔    No
          Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No. Go to line 3.
      
      ✔    Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                  No
           
           ✔                                                                AZ
                   Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                    Hector Rodriguez
                   ______________________________________________________________________
                   Name of your spouse, former spouse, or legal equivalent

                    6215 South 64th Drive
                   ______________________________________________________________________
                   Number            Street

                    Laveen                           AZ                        85339
                   ______________________________________________________________________
                   City                                             State                    ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                             Column 2: The creditor to whom you owe the debt

                                                                                                           Check all schedules that apply:
3.1
         ________________________________________________________________________________                     Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                              Schedule E/F, line ______
          Street                                                                                              Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                    ZIP Code

3.2
         ________________________________________________________________________________                     Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                              Schedule E/F, line ______
          Street                                                                                              Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                    ZIP Code

3.3
         ________________________________________________________________________________                     Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                              Schedule E/F, line ______
          Street                                                                                              Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                    ZIP Code

                Case 2:20-bk-00032-PS                                Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                            Desc
Official Form 106H                                                         Schedule H: Your Codebtors
                                                                     Main Document          Page 32 of 67                                                    1
                                                                                                                                                  page 1 of ___
 Fill in this information to identify your case:

                      Deborah Ann Rodriguez
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name             Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name             Last Name


 United States Bankruptcy Court for the: ______________________
                                          District of Arizona   District
                                                                                 tate)
 Case number            2:20-bk-00032-PS
                     ___________________________________________                                     Check if this is:
  (If known)
                                                                                                      An amended filing
                                                                                                      A supplement showing postpetition chapter 13
                                                                                                        income as of the following date:
                                                                                                        ________________
Official Form 106I                                                                                      MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                          Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                        ✔ Employed
    information about additional         Employment status                                                              Employed
    employers.                                                          Not employed                                 
                                                                                                                      ✔   Not employed
    Include part-time, seasonal, or
    self-employed work.                                                Sonographer
                                         Occupation                  __________________________________           __________________________________
    Occupation may include student
    or homemaker, if it applies.                                       Mesa Obstetricians and Gyn,
                                         Employer’s name
                                                                       LTD.
                                                                     __________________________________            __________________________________


                                         Employer’s address            7233 East Baseline Road
                                                                    _______________________________________      ________________________________________
                                                                     Number Street                                Number    Street
                                                                        Suite 101
                                                                    _______________________________________      ________________________________________

                                                                    _______________________________________      ________________________________________

                                                                       Mesa, AZ 85209
                                                                    _______________________________________      ________________________________________
                                                                     City            State  ZIP Code               City                State ZIP Code

                                          How long employed there?________________________
                                                                   5 months                                        ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                For Debtor 1       For Debtor 2 or
                                                                                                                   non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.         2.       8,717.50
                                                                                               $___________           $____________

 3. Estimate and list monthly overtime pay.                                              3.   + $___________
                                                                                                        0.00      +   $____________


 4. Calculate gross income. Add line 2 + line 3.                                         4.       8,717.50
                                                                                               $__________            $____________



               Case 2:20-bk-00032-PS
Official Form 106I
                                                          Doc 14 Schedule
                                                                   Filed I:01/16/20
                                                                            Your Income
                                                                                        Entered 01/16/20 14:42:26                        Descpage 1
                                                          Main Document          Page 33 of 67
Debtor 1
                 Deborah   Ann Rodriguez
                 _______________________________________________________                                                                          2:20-bk-00032-PS
                                                                                                                          Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.        8,717.50
                                                                                                                          $___________            $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.        1,583.02
                                                                                                                         $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.            0.00
                                                                                                                         $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.            0.00
                                                                                                                         $____________            $_____________
     5d. Required repayments of retirement fund loans                                                            5d.            0.00
                                                                                                                         $____________            $_____________
     5e. Insurance                                                                                               5e.            0.00
                                                                                                                         $____________            $_____________
     5f. Domestic support obligations                                                                            5f.            0.00
                                                                                                                         $____________            $_____________
                                                                                                                                0.00
                                                                                                                         $____________            $_____________
     5g. Union dues                                                                                              5g.
     5h. Other deductions. Specify: __________________________________                                           5h.    + $____________       +   $_____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.        1,583.02
                                                                                                                         $____________            $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.        7,134.48
                                                                                                                         $____________            $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                    0.00                       0.00
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                 0.00                      0.00
                                                                                                                         $____________            $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8e. Social Security                                                                                         8e.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                       0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

     8g. Pension or retirement income                                                                            8g.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________
                                                                                                                                 0.00         + $_____________
                                                                                                                                                         0.00
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                            7,134.48
                                                                                                                         $___________     +               0.00
                                                                                                                                                  $_____________      =      7,134.48
                                                                                                                                                                          $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                    11. + $_____________
                                                                                                                                                                              0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                             7,134.48
                                                                                                                                                                          $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                          12.
                                                                                                                                                                          Combined
                                                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      
      ✔    No.
          Yes. Explain:


             Case 2:20-bk-00032-PS
  Official Form 106I
                                                                   Doc 14 Schedule
                                                                            Filed I:01/16/20
                                                                                     Your Income
                                                                                                 Entered 01/16/20 14:42:26                                            Descpage 2
                                                                   Main Document          Page 34 of 67
  Fill in this information to identify your case:

                     Deborah Ann Rodriguez
  Debtor 1          __________________________________________________________________
                      First Name              Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name                 Last Name
                                                                                                               An amended filing
                                          District of Arizona
                                                                                                               A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________ District of __________                           expenses as of the following date:
                                                                                      (State)
                       2:20-bk-00032-PS                                                                           ________________
  Case number         ___________________________________________                                                 MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                    No
                    Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                   No                                           Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                 ✔ Yes. Fill out this information for
                                                                                          Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’                                                             Son                                      21            No
                                                                                           _________________________                ________
   names.                                                                                                                                         
                                                                                                                                                  ✔ Yes
                                                                                            Son
                                                                                           _________________________                 18
                                                                                                                                    ________       No
                                                                                                                                                  
                                                                                                                                                  ✔ Yes
                                                                                            Father
                                                                                           _________________________                 86
                                                                                                                                    ________       No
                                                                                                                                                  
                                                                                                                                                  ✔ Yes

                                                                                           _________________________                ________       No
                                                                                                                                                   Yes
                                                                                           _________________________                ________       No
                                                                                                                                                   Yes
3. Do your expenses include
   expenses of people other than
                                               No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                  Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                  1,809.30
                                                                                                                                      $_____________________
     any rent for the ground or lot.                                                                                          4.

     If not included in line 4:
                                                                                                                                                       0.00
     4a.    Real estate taxes                                                                                                 4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                      4b.
                                                                                                                                                       0.00
                                                                                                                                      $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                     4c.                   100.00
                                                                                                                                      $_____________________
     4d.    Homeowner’s association or condominium dues                                                                       4d.                     85.00
                                                                                                                                      $_____________________

            Case
  Official Form 106J2:20-bk-00032-PS                        Doc Schedule
                                                                14 Filed      01/16/20
                                                                         J: Your Expenses Entered 01/16/20 14:42:26                               Descpage 1
                                                            Main Document           Page 35 of 67
                    Deborah Ann Rodriguez                                                                         2:20-bk-00032-PS
 Debtor 1          _______________________________________________________                Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                     Your expenses

                                                                                                                    $_____________________
                                                                                                                                     0.00
 5. Additional mortgage payments for your residence, such as home equity loans                               5.


 6. Utilities:

       6a.    Electricity, heat, natural gas                                                                 6a.    $_____________________
                                                                                                                                  458.00
       6b.    Water, sewer, garbage collection                                                               6b.    $_____________________
                                                                                                                                  156.48
       6c.    Telephone, cell phone, Internet, satellite, and cable services                                 6c.    $_____________________
                                                                                                                                  538.36
       6d.    Other. Specify: _______________________________________________                                6d.    $_____________________
                                                                                                                                     0.00
 7. Food and housekeeping supplies                                                                           7.     $_____________________
                                                                                                                                  927.00
 8. Childcare and children’s education costs                                                                 8.     $_____________________
                                                                                                                                  507.32
 9. Clothing, laundry, and dry cleaning                                                                      9.     $_____________________
                                                                                                                                  345.00
10.    Personal care products and services                                                                   10.    $_____________________
                                                                                                                                  155.00
11.    Medical and dental expenses                                                                           11.    $_____________________
                                                                                                                                  340.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                    $_____________________
                                                                                                                                  650.00
       Do not include car payments.                                                                          12.

13.    Entertainment, clubs, recreation, newspapers, magazines, and books                                    13.    $_____________________
                                                                                                                                  110.00
14.    Charitable contributions and religious donations                                                      14.    $_____________________
                                                                                                                                     0.00
                                                                                                                                                  1
15.    Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

       15a. Life insurance                                                                                   15a.                    0.00
                                                                                                                    $_____________________
       15b. Health insurance                                                                                 15b.   $_____________________
                                                                                                                                     0.00
       15c. Vehicle insurance                                                                                15c.   $_____________________
                                                                                                                                  121.90
                                       Burial Insurance
       15d. Other insurance. Specify:_______________________________________                                 15d.   $_____________________
                                                                                                                                  157.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify: ________________________________________________________                                     16.
                                                                                                                                    0.00
                                                                                                                    $_____________________

17.    Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                       17a.   $_____________________
                                                                                                                                  251.00
       17b. Car payments for Vehicle 2                                                                       17b.   $_____________________
                                                                                                                                  297.85
       17c. Other. Specify:_______________________________________________                                   17c.   $_____________________
                                                                                                                                     0.00
       17d.                    Bankruptcy Payment Plan
              Other. Specify:_______________________________________________                                 17d.                 111.25
                                                                                                                    $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                      18.                    0.00
                                                                                                                    $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                        19.
                                                                                                                                     0.00
                                                                                                                    $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                      20a.   $_____________________
                                                                                                                                     0.00
       20b. Real estate taxes                                                                                20b.   $_____________________
                                                                                                                                     0.00
       20c. Property, homeowner’s, or renter’s insurance                                                     20c.   $_____________________
                                                                                                                                     0.00
       20d. Maintenance, repair, and upkeep expenses                                                         20d.   $_____________________
                                                                                                                                     0.00
       20e. Homeowner’s association or condominium dues                                                      20e.   $_____________________
                                                                                                                                     0.00


                Case
      Official Form 106J2:20-bk-00032-PS                 Doc Schedule
                                                             14 Filed      01/16/20
                                                                      J: Your Expenses Entered 01/16/20 14:42:26                   Descpage 2
                                                         Main Document           Page 36 of 67
                  Deborah Ann Rodriguez                                                                                2:20-bk-00032-PS
Debtor 1         _______________________________________________________                       Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




21.    Other. Specify:______________________________________________________________________
                       Miscellaneous Expenses
                                                                                                                                       270.00
                                                                                                                  21.   +$_____________________
______________________________________________________________________________________                                  +$_____________________
______________________________________________________________________________________                                  +$_____________________
22.     Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                             22a.                 7,390.46
                                                                                                                         $_____________________

       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

       and 22b. The result is your monthly expenses.                                                            22c.                 7,390.46
                                                                                                                         $_____________________


23. Calculate your monthly net income.
                                                                                                                                      7,134.48
                                                                                                                          $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                        23a.

      23b.   Copy your monthly expenses from line 22c above.                                                     23b.                 7,390.46
                                                                                                                        – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                  -255.98
                                                                                                                          $_____________________
             The result is your monthly net income.                                                              23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
         Yes.     Explain here:




                Case
      Official Form 106J2:20-bk-00032-PS               Doc Schedule
                                                           14 Filed      01/16/20
                                                                    J: Your Expenses Entered 01/16/20 14:42:26                          Descpage 3
                                                       Main Document           Page 37 of 67
Fill in this information to identify your case:

Debtor 1           Deborah Ann Rodriguez
                  __________________________________________________________________
                    First Name              Middle Name             Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name             Last Name


                                        ______________________
United States Bankruptcy Court for the:District of Arizona     District of __________
                                                                                (State)
Case number         2:20-bk-00032-PS
                    ___________________________________________
(If known)
                                                                                                                                          Check if this is an
                                                                                                                                             amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                        12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔     No
            Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                               Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Deborah Ann Rodriguez
          ______________________________________________           _____________________________
         Signature of Debtor 1                                         Signature of Debtor 2


              01/09/2020
         Date _________________                                        Date _________________
                MM /    DD       /   YYYY                                       MM / DD /   YYYY




  Official Form 106Dec
              Case  2:20-bk-00032-PS                       Declaration
                                                          Doc 14 Filed About 01/16/20
                                                                             an Individual Debtor’s
                                                                                             EnteredSchedules
                                                                                                        01/16/20 14:42:26                    Desc
                                                          Main Document             Page 38 of 67
 Fill in this information to identify your case:

 Debtor 1          Deborah Ann Rodriguez
                   __________________________________________________________________
                     First Name             Middle Name                Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                Last Name


 United States Bankruptcy Court for the: District
                                          ______________________
                                                  of Arizona     District of ______________
                                                                             (State)
 Case number         ___________________________________________
                       2:20-bk-00032-PS
  (If known)                                                                                                                             Check if this is an
                                                                                                                                           amended filing




Official Form 107
St a t e m e nt of Fina nc ia l Affa irs for I ndividua ls Filing for Ba nk rupt c y                                                                          4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Pa rt 1 :       Give De t a ils About Y our M a rit a l St a t us a nd Whe re Y ou Live d Be fore


 1. What is your current marital status?


      
      ✔ Married

       Not married

 2. During the last 3 years, have you lived anywhere other than where you live now?

     
     ✔     No
          Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                        Dates Debtor 1         Debtor 2:                                             Dates Debtor 2
                                                                lived there                                                                  lived there

                                                                                        Same as Debtor 1                                      Same as Debtor 1

               __________________________________________       From     ________         ___________________________________________           From ________
                Number    Street                                                          Number Street
                                                                To       __________                                                             To      ________
               __________________________________________                                 ___________________________________________

               __________________________________________                                 ___________________________________________
               City                     State ZIP Code                                    City                     State ZIP Code


                                                                                        Same as Debtor 1                                      Same as Debtor 1


               __________________________________________       From     ________         ___________________________________________           From ________
                Number    Street                                                          Number Street
                                                                To       ________                                                               To      ________
               __________________________________________                                 ___________________________________________

               __________________________________________                                 ___________________________________________
               City                     State ZIP Code                                    City                     State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No
     
     ✔     Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 1
               Case 2:20-bk-00032-PS                      Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                                  Desc
                                                          Main Document    Page 39 of 67
Debtor 1        Deborah Ann Rodriguez
                _______________________________________________________                                                             2:20-bk-00032-PS
                                                                                                             Case number (if known)_____________________________________
                First Name      Middle Name             Last Name


  Pa rt 2 : Ex pla in t he Sourc e s of Y our I nc om e

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

          No
     
     ✔     Yes. Fill in the details.

                                                                Debtor 1                                              Debtor 2

                                                                Sources of income            Gross income             Sources of income           Gross income
                                                                Check all that apply.        (before deductions and   Check all that apply.       (before deductions and
                                                                                             exclusions)                                          exclusions)


            From January 1 of current year until
                                                                
                                                                ✔   Wages, commissions,                                  Wages, commissions,
                                                                    bonuses, tips            $________________
                                                                                              4,358.75                    bonuses, tips           $________________
            the date you filed for bankruptcy:
                                                                   Operating a business                                 Operating a business


            For last calendar year:
                                                                
                                                                ✔   Wages, commissions,                                  Wages, commissions,
                                                                    bonuses, tips            $________________
                                                                                              76,731.03                   bonuses, tips           $________________
            (January 1 to December 31, _________)
                                       2019                        Operating a business                                 Operating a business
                                              YYYY



            For the calendar year before that:                  
                                                                ✔   Wages, commissions,                                  Wages, commissions,
                                                                    bonuses, tips                                         bonuses, tips
                                                                                             $________________
                                                                                              56,432.65                                           $________________
            (January 1 to December 31, _________)
                                       2018                        Operating a business                                 Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     
     ✔     No
          Yes. Fill in the details.

                                                     Debtor 1                                                          Debtor 2

                                                     Sources of income             Gross income from                   Sources of income          Gross income from
                                                     Describe below.               each source                         Describe below.            each source
                                                                                   (before deductions and                                         (before deductions and
                                                                                   exclusions)                                                    exclusions)


                                        _________________________                  $________________          _________________________          $________________
 From January 1 of current
 year until the date you                _________________________                  $________________          _________________________          $________________
 filed for bankruptcy:
                                        _________________________                  $_________________         _________________________          $_________________


                                         _________________________ $________________                           _________________________         $________________
For last calendar year:
                                         _________________________ $________________                           _________________________         $________________
(January 1 to
                                         _________________________ $_________________                          _________________________         $_________________
December 31, _________)


For the calendar year                    _________________________ $________________                           _________________________         $________________
before that:                             _________________________ $________________                           _________________________         $________________
(January 1 to                            _________________________ $_________________                          _________________________         $_________________
December 31, _________)




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 2
            Case 2:20-bk-00032-PS                           Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                                           Desc
                                                            Main Document    Page 40 of 67
Debtor 1       Deborah Ann Rodriguez
               _______________________________________________________                                                    2:20-bk-00032-PS
                                                                                                   Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Pa rt 3 :    List Ce rt a in Pa ym e nt s Y ou M a de Be fore Y ou File d for Ba nk rupt c y



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

     
     ✔     Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                   No. Go to line 7.

               
               ✔    Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                      payment


                                                                     01/2020
                                                                     _________      $_________________ $__________________
                      Arvest Central Mortgage Company
                      ____________________________________                           5,427.90           261,424.00                      
                                                                                                                                        ✔ Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      801 John Barrow Road
                      ____________________________________           12/2019
                                                                     _________
                      Number    Street                                                                                                   Credit card
                                                                     11/2019
                                                                                                                                         Loan repayment
                      Suite 1
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      Little Rock
                      City
                                        AR       72205
                                              State       ZIP Code
                                                                                                                                         Other ______________


                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________           _________                                                           Credit card
                      Number    Street
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________                                                                               Other ______________
                      City                    State       ZIP Code




                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________           _________                                                           Credit card
                      Number    Street
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________                                                                               Other _______________
                      City                    State       ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3
             Case 2:20-bk-00032-PS                        Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                                   Desc
                                                          Main Document    Page 41 of 67
Debtor 1            Deborah Ann Rodriguez
                   _______________________________________________________                            Case number (if known)2:20-bk-00032-PS
                                                                                                                            _____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     
     ✔     No
          Yes. List all payments to an insider.
                                                                        Dates of      Total amount      Amount you still   Reason for this payment
                                                                        payment       paid              owe


            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



            ____________________________________________              _________      $____________ $____________
            Insider’s Name

            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     ✔     No
          Yes. List all payments that benefited an insider.
                                                                       Dates of        Total amount     Amount you still   Reason for this payment
                                                                       payment         paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



                                                                                     $____________ $____________
            ____________________________________________              _________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 4
            Case 2:20-bk-00032-PS                            Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                                         Desc
                                                             Main Document    Page 42 of 67
Debtor 1          Deborah    Ann Rodriguez
                  _______________________________________________________                                                               2:20-bk-00032-PS
                                                                                                                 Case number (if known)_____________________________________
                  First Name            Middle Name            Last Name




  Pa rt 4 :       I de nt ify Le ga l Ac t ions, Re posse ssions, a nd Fore c losure s

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

          No
     
     ✔     Yes. Fill in the details.
                                                                      Nature of the case                   Court or agency                                 Status of the case
                  Synchrony Bank vs. Deborah                        Civil Debt Collection Lawsuit; Date
    Case title:                                                     filed: 06/26/2019                    South Mountain Justice Court
                  Rodriguez                                                                             ________________________________________
                                                                                                          Court Name
                                                                                                                                                          
                                                                                                                                                          ✔   Pending

                                                                                                                                                             On appeal
                                                                                                          620 West Jackson Street
                                                                                                          ________________________________________
                                                                                                          Number    Street                                   Concluded

                                                                                                           Phoenix           AZ     85003
                                                                                                          ________________________________________
                                                                                                          City                   State   ZIP Code
    Case number CC2019-128861
                ________________________
                   Synchrony Bank vs. Deborah                       Civil Debt Collection Lawsuit; Date
                   Rodriguez                                        filed: 07/23/2019                    South Mountain Justice Court
                                                                                                        ________________________________________
                                                                                                          Court Name
                                                                                                                                                          
                                                                                                                                                          ✔   Pending
    Case title:
                                                                                                                                                             On appeal
                                                                                                          620 West Jackson Street
                                                                                                          ________________________________________
                                                                                                          Number    Street                                   Concluded

                                                                                                           Phoenix           AZ     85003
                                                                                                          ________________________________________
                          CC2019-147708                                                                   City                   State   ZIP Code
    Case number ________________________

 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     
     ✔     No. Go to line 11.
          Yes. Fill in the information below.

                                                                                Describe the property                                     Date          Value of the property



                   _________________________________________                                                                              __________     $______________
                   Creditor’s Name


                   _________________________________________
                   Number      Street                                           Explain what happened

                                                                                    Property was repossessed.
                   _________________________________________
                                                                                    Property was foreclosed.
                                                                                    Property was garnished.
                   _________________________________________
                   City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                                Describe the property                                     Date           Value of the property



                                                                                                                                         __________      $______________
                   _________________________________________
                   Creditor’s Name


                   _________________________________________
                   Number      Street
                                                                                Explain what happened

                   _________________________________________                        Property was repossessed.
                                                                                    Property was foreclosed.
                   _________________________________________                        Property was garnished.
                   City                               State   ZIP Code
                                                                                    Property was attached, seized, or levied.



Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
              Case 2:20-bk-00032-PS                                Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                                        Desc
                                                                   Main Document    Page 43 of 67
Debtor 1          Deborah Ann Rodriguez
                  _______________________________________________________                                                       2:20-bk-00032-PS
                                                                                                         Case number (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     ✔     No
          Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     ✔     No
          Yes

 Pa rt 5 :        List Ce rt a in Gift s a nd Cont ribut ions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     ✔     No
          Yes. Fill in the details for each gift.


             Gifts with a total value of more than $600          Describe the gifts                                            Dates you gave        Value
             per person                                                                                                        the gifts



           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________

           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________


           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
             Case 2:20-bk-00032-PS                           Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                                      Desc
                                                             Main Document    Page 44 of 67
Debtor 1            Deborah Ann Rodriguez
                    _______________________________________________________                                                            2:20-bk-00032-PS
                                                                                                                Case number (if known)_____________________________________
                    First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     ✔     No
          Yes. Fill in the details for each gift or contribution.

             Gifts or contributions to charities                   Describe what you contributed                                         Date you            Value
             that total more than $600                                                                                                   contributed



           _____________________________________                                                                                         _________           $_____________
           Charity’s Name


           _____________________________________                                                                                         _________           $_____________


           _____________________________________
           Number       Street



           _____________________________________
           City            State    ZIP Code




 Pa rt 6 :          List Ce rt a in Losse s


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

     ✔    No
          Yes. Fill in the details.

             Describe the property you lost and how                 Describe any insurance coverage for the loss                         Date of your loss   Value of property
             the loss occurred                                                                                                                               lost
                                                                    Include the amount that insurance has paid. List pending insurance
                                                                    claims on line 33 of Schedule A/B: Property.


                                                                                                                                         _________           $_____________




 Pa rt 7 :        List Ce rt a in Pa ym e nt s or T ra nsfe rs

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

          No
     
     ✔     Yes. Fill in the details.

                                                                    Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                         transfer was made
             ___________________________________
             Dollar Learning Foundation, Inc.
             Person Who Was Paid
                                                                   Credit Counseling Course
             ___________________________________
             21550 Oxnard Street
             Number       Street                                                                                                         _________
                                                                                                                                         12/2019             $_____________
                                                                                                                                                               9.95

             ___________________________________
             Floor 3
                                                                                                                                         _________           $_____________
             ___________________________________
             Woodland Hills      CA      91367
             City                       State    ZIP Code


              www.dollarbk.org
             ____________________________________________
             Email or website address

             ___________________________________
             Person Who Made the Payment, if Not You



Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 7
             Case 2:20-bk-00032-PS                              Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                                              Desc
                                                                Main Document    Page 45 of 67
Debtor 1           Deborah Ann Rodriguez
                   _______________________________________________________                                                           2:20-bk-00032-PS
                                                                                                              Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                Date payment or       Amount of
                                                                                                                                     transfer was made     payment

            Arizona Consumer Law Group, PLC
            ____________________________________                  Legal Fees: $1,265
            Person Who Was Paid                                   Court Filing Fee: $335
                                                                  Total: $1,600                                                      _________               0.00
                                                                                                                                                           $_____________
            7233 East Baseline Road
            ____________________________________
            Number       Street
                                                                                                                                     12/2019
                                                                                                                                     _________               1,600.00
                                                                                                                                                           $_____________
            Suite 117
            ____________________________________

            Mesa                AZ      85209
            ____________________________________
            City                        State    ZIP Code


            www.skibalaw.com
            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     ✔     No
          Yes. Fill in the details.

                                                                    Description and value of any property transferred                Date payment or   Amount of payment
                                                                                                                                     transfer was made
            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $____________
            ____________________________________
            Number        Street

            ____________________________________                                                                                     _________             $____________

            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     
     ✔     No
          Yes. Fill in the details.

                                                                    Description and value of property         Describe any property or payments received      Date transfer
                                                                    transferred                               or debts paid in exchange                       was made
            ___________________________________
            Person Who Received Transfer

            ___________________________________                                                                                                               _________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code


            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                              _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________

Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 8
            Case 2:20-bk-00032-PS                               Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                                            Desc
                                                                Main Document    Page 46 of 67
Debtor 1           Deborah Ann Rodriguez
                   _______________________________________________________                                                          2:20-bk-00032-PS
                                                                                                             Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     
     ✔     No
          Yes. Fill in the details.

                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


                                                                                                                                                           _________
           Name of trust




 Pa rt 8 : List Ce rt a in Fina nc ia l Ac c ount s, I nst rum e nt s, Sa fe De posit Box e s, a nd St ora ge U nit s

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     
     ✔     No
          Yes. Fill in the details.

                                                                   Last 4 digits of account number      Type of account or       Date account was       Last balance before
                                                                                                        instrument               closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred
            ____________________________________
            Name of Financial Institution
                                                                       XXXX–___ ___ ___ ___              Checking               _________              $___________
            ____________________________________
            Number       Street
                                                                                                         Savings
            ____________________________________                                                         Money market
            ____________________________________
                                                                                                         Brokerage
            City                       State    ZIP Code                                                 Other__________

            ____________________________________                       XXXX–___ ___ ___ ___              Checking               _________              $___________
            Name of Financial Institution
                                                                                                         Savings
            ____________________________________
            Number       Street                                                                          Money market
            ____________________________________                                                         Brokerage
            ____________________________________                                                         Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     
     ✔  No
          Yes. Fill in the details.
                                                                       Who else had access to it?                  Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                                  No
            ____________________________________                  _______________________________________
            Name of Financial Institution                         Name
                                                                                                                                                                  Yes

            ____________________________________                  _______________________________________
            Number       Street                                   Number      Street
            ____________________________________
                                                                  _______________________________________
                                                                  City          State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 9
            Case 2:20-bk-00032-PS                              Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                                          Desc
                                                               Main Document    Page 47 of 67
Debtor 1            Deborah Ann Rodriguez
                    _______________________________________________________                                                                     2:20-bk-00032-PS
                                                                                                                         Case number (if known)_____________________________________
                    First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    
    ✔      No
          Yes. Fill in the details.
                                                                     Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                          have it?


             ___________________________________                     _______________________________________                                                                No
             Name of Storage Facility                                Name                                                                                                   Yes
             ___________________________________                     _______________________________________
             Number       Street                                     Number    Street

             ___________________________________                     _______________________________________
                                                                     City State ZIP Code
             ___________________________________
             City                        State     ZIP Code



 Pa rt 9 :            I de nt ify Prope rt y Y ou H old or Cont rol for Som e one Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     
     ✔   No
          Yes. Fill in the details.
                                                                    Where is the property?                                    Describe the property                    Value


             ___________________________________
             Owner’s Name                                                                                                                                              $__________
                                                                   _________________________________________
             ___________________________________                   Number     Street
             Number        Street
                                                                   _________________________________________
             ___________________________________
                                                                   _________________________________________
             ___________________________________                   City                             State     ZIP Code
             City                        State     ZIP Code


 Pa rt 1 0 :          Give De t a ils About Environm e nt a l I nform a t ion

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
     it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


     
     ✔     No
          Yes. Fill in the details.
                                                                     Governmental unit                            Environmental law, if you know it                   Date of notice



            ____________________________________                    _______________________________                                                                    _________
            Name of site                                            Governmental unit

            ____________________________________                    _______________________________
            Number       Street                                     Number    Street

                                                                    _______________________________
            ____________________________________                    City                   State   ZIP Code


            ____________________________________
            City                        State     ZIP Code



Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 10
             Case 2:20-bk-00032-PS                                Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                                                 Desc
                                                                  Main Document    Page 48 of 67
Debtor 1           Deborah Ann Rodriguez
                   _______________________________________________________                                                                     2:20-bk-00032-PS
                                                                                                                        Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     
     ✔     No
          Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                     Date of notice


            ____________________________________                  _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                          _________

            ____________________________________                  _______________________________
            Number        Street                                  Number     Street


            ____________________________________                  _______________________________
                                                                  City                  State    ZIP Code
            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     
     ✔     No
          Yes. Fill in the details.
                                                                                                                                                                          Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                          case

           Case title
                                                                    ________________________________                                                                         Pending
                                                                    Court Name
                                                                                                                                                                             On appeal
                                                                    ________________________________
                                                                    Number     Street                                                                                        Concluded


           Case number                                              ________________________________
                                                                    City                        State   ZIP Code



 Pa rt 1 1 :         Give De t a ils About Y our Busine ss or Conne c t ions t o Any Busine ss

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
               A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

     
     ✔     No. None of the above applies. Go to Part 12.
          Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
                                                                                                                                       From     _______             To _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
                                                                                                                                       From     _______                 To _______
            ____________________________________
            City                        State    ZIP Code


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                     page 11
            Case 2:20-bk-00032-PS                               Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                                                     Desc
                                                                Main Document    Page 49 of 67
Debtor 1           Deborah Ann Rodriguez
                   _______________________________________________________                                                          2:20-bk-00032-PS
                                                                                                              Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Describe the nature of the business                     Employer Identification number
                                                                                                                            Do not include Social Security number or ITIN.
            ____________________________________
            Business Name
                                                                                                                            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                                                                            Dates business existed

            ____________________________________

                                                                    Name of accountant or bookkeeper
            ____________________________________                                                                            From     _______         To _______
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

          No
          Yes. Fill in the details below.

                                                                    Date issued



            ____________________________________                    ____________
            Name                                                    MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Pa rt 1 2 :       Sign Be low


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




           /s/ Deborah Ann Rodriguez
            ______________________________________________                        _____________________________
            Signature of Debtor 1                                                    Signature of Debtor 2


            Date ________________
                  01/09/2020                                                         Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

            No
      
      ✔      Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      
      ✔     No
           Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                               Declaration, and Signature (Official Form 119).




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 12
            Case 2:20-bk-00032-PS                               Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                                          Desc
                                                                Main Document    Page 50 of 67
               Deborah Ann Rodriguez                                                                          2:20-bk-00032-PS
 Debtor 1                                                         _                  Case number (if known)
              First Name   Middle Name   Last Name



                                             Continuation Sheet for Official Form 107
9) Lawsuits

Case Title: Synchrony Bank vs. Deborah Rodriguez

Case Number: CC2019-148110

Court Name: South Mountain Justice Court

Court Address: 620 West Jackson Street, Phoenix, AZ 85003

Case Status: Pending

Nature of the case: Civil Debt Collection Lawsuit; Date filed: 07/23/2019

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Case Title: Synchrony Bank vs. Deborah Rodriguez

Case Number: CC2019-168410

Court Name: South Mountain Justice Court

Court Address: 620 West Jackson Street, Phoenix, AZ 85003

Case Status: Pending

Nature of the case: Civil Debt Collection Lawsuit; Date filed: 08/20/2019

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            Case 2:20-bk-00032-PS
  Official Form 107
                                             Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26
                                            Statement of Financial Affairs for Individuals
                                                                                                                                 Desc
                                             Main Document    Page 51 of 67
Fill in this information to identify your case:

                  Deborah Ann Rodriguez
Debtor 1          __________________________________________________________________
                    First Name               Middle Name               Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name               Last Name


                                        ______________________
United States Bankruptcy Court for the:District of Arizona     District of __________
                                                                                   (State)
Case number         ___________________________________________
                     2:20-bk-00032-PS                                                                                                          Check if this is an
 (If known)                                                                                                                                       amended filing



  Official Form 108
  St a t e m e nt of I nt e nt ion for I ndividua ls Filing U nde r Cha pt e r 7                                                                            12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Pa rt 1 :        List Y our Cre dit ors Who H a ve Se c ure d Cla im s

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral                    What do you intend to do with the property that   Did you claim the property
                                                                                        secures a debt?                                   as exempt on Schedule C?

          Creditor’s                                                                    Surrender the property.                           No
          name:           Arvest Central Mortgage Company
                                                                                        Retain the property and redeem it.                Yes
         Description of          5206 West Milada Drive
         property                                                                      
                                                                                       ✔ Retain the property and enter into a

         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________


         Creditor’s        State Farm Bank, F.S.B                                       Surrender the property.                           No
         name:
                                                                                        Retain the property and redeem it.               
                                                                                                                                          ✔ Yes
         Description of          2016 Scion tC
         property                                                                      
                                                                                       ✔ Retain the property and enter into a

         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________

         Creditor’s      State Farm Bank, F.S.B                                         Surrender the property.                          
                                                                                                                                          ✔ No
         name:
                                 2012 Harley Davidson Road Glide                        Retain the property and redeem it.                Yes
         Description of
         property                                                                       Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                       
                                                                                       ✔ Retain the property and [explain]:
                                                                                             Separated husband is in possession.
                                                                                             ______________________________________

         Creditor’s                                                                     Surrender the property.                           No
         name:
                                                                                        Retain the property and redeem it.                Yes
         Description of
         property                                                                       Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________
                 Case 2:20-bk-00032-PS                    Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                                      Desc
  Official Form 108                              Statement of Intention
                                                           Main         for Individuals Filing
                                                                    Document             Page  Under
                                                                                                 52 Chapter
                                                                                                     of 67 7                                      page 1
Debtor
                     Deborah Ann Rodriguez
                    ______________________________________________________                                       2:20-bk-00032-PS
                                                                                             Case number (If known)_____________________________________




 Pa rt 2 :          List Y our Une x pire d Pe rsona l Prope rty Le a se s

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
 fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
 ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

         Describe your unexpired personal property leases                                                            Will the lease be assumed?

         Lessor’s name:       Cox Communications                                                                     No
                                                                                                                     Yes
         Description of leased
         property: Internet, Telephone,      and Cable/Satellite Television Service Agreement

         Lessor’s name:       T-Mobile USA, Inc.                                                                     No
                                                                                                                    
                                                                                                                    ✔ Yes
         Description of leased
         property: Cell Phone        Service Agreement

         Lessor’s name:                                                                                              No
         Description of leased                                                                                       Yes
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:




 Pa rt 3 :          Sign Be low



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired lease.



  /s/ Deborah Ann Rodriguez
         ___________________________________________             ___________________________________________
     Signature of Debtor 1                                         Signature of Debtor 2

             01/09/2020
     Date _________________                                        Date _________________
             MM /    DD   /   YYYY                                      MM /   DD /   YYYY




              Case 2:20-bk-00032-PS
 Official Form 108
                                        Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26
                                  Statement of Intention for Individuals Filing Under Chapter 7
                                                                                                                                     Desc
                                                                                                                                      page 2
                                        Main Document                Page 53 of 67
 Fill in this information to identify your case:                                                              Check one box only as directed in this form and in
                                                                                                              Form 122A-1Supp:
 Debtor 1         Deborah   Ann Rodriguez
                  __________________________________________________________________
                     First Name                  Middle Name                    Last Name
                                                                                                              
                                                                                                              ✔   1. There is no presumption of abuse.
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                  Middle Name                    Last Name                        2. The calculation to determine if a presumption of
                                                                                                                     abuse applies will be made under Chapter 7
                                         District of Arizona
 United States Bankruptcy Court for the: ____________    District of   _______________
                                                                                                                     Means Test Calculation (Official Form 122A–2).
 Case number        2:20-bk-00032-PS
                    ___________________________________________                                                  3. The Means Test does not apply now because of
 (If known)
                                                                                                                     qualified military service but it could apply later.


                                                                                                               Check if this is an amended filing

Official Form 122A─1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                     12/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

   Part 1:         Calculate Your Current Monthly Income

   1. What is your marital and filing status? Check one only.
             Not married. Fill out Column A, lines 2-11.
             Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

        
        ✔     Married and your spouse is NOT filing with you. You and your spouse are:
                   Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
              
              ✔     Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                    under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                    spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
        bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
        August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
        Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
        income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                                Column A             Column B
                                                                                                                Debtor 1             Debtor 2 or
                                                                                                                                     non-filing spouse
   2. Your gross wages, salary, tips, bonuses, overtime, and commissions
      (before all payroll deductions).                                                                             6,664.79
                                                                                                                  $_________            0.00
                                                                                                                                       $__________

   3. Alimony and maintenance payments. Do not include payments from a spouse if
      Column B is filled in.                                                                                       0.00
                                                                                                                  $_________            0.00
                                                                                                                                       $__________

   4. All amounts from any source which are regularly paid for household expenses
      of you or your dependents, including child support. Include regular contributions
      from an unmarried partner, members of your household, your dependents, parents,
      and roommates. Include regular contributions from a spouse only if Column B is not
      filled in. Do not include payments you listed on line 3.                                                     0.00
                                                                                                                  $_________            0.00
                                                                                                                                       $__________

   5. Net income from operating a business, profession,
                                                                                Debtor 1    Debtor 2
      or farm
      Gross receipts (before all deductions)                                       0.00
                                                                                  $______    0.00
                                                                                            $______
        Ordinary and necessary operating expenses                                 0.00 – $______
                                                                               – $______  0.00
                                                                                                       Copy
        Net monthly income from a business, profession, or farm                    0.00
                                                                                  $______    0.00
                                                                                            $______ here          0.00
                                                                                                                  $_________            0.00
                                                                                                                                       $__________

   6. Net income from rental and other real property                            Debtor 1    Debtor 2
      Gross receipts (before all deductions)                                       0.00
                                                                                  $______    0.00
                                                                                            $______
        Ordinary and necessary operating expenses                                 0.00 – $______
                                                                               – $______  0.00
                                                                                                       Copy
        Net monthly income from rental or other real property                     $______    0.00
                                                                                            $______ here          0.00
                                                                                                                  $_________            0.00
                                                                                                                                       $__________
  7. Interest, dividends, and royalties                                                                            0.00
                                                                                                                  $_________            0.00
                                                                                                                                       $__________


              Case 2:20-bk-00032-PS                            Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                                         Desc
Official Form 122A-1                               Chapter 7 Statement of Your Current Monthly Income                                                         page 1
                                                               Main Document    Page 54 of 67
Debtor 1           Deborah   Ann Rodriguez
                   _______________________________________________________                                                                          2:20-bk-00032-PS
                                                                                                                             Case number (if known)_____________________________________
                   First Name              Middle Name                      Last Name



                                                                                                                                   Column A                    Column B
                                                                                                                                   Debtor 1                    Debtor 2 or
                                                                                                                                                               non-filing spouse

   8. Unemployment compensation                                                                                                        0.00
                                                                                                                                     $__________                    0.00
                                                                                                                                                                  $___________
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here: ................................ 
            For you ..................................................................................     0.00
                                                                                                         $______________
            For your spouse ..................................................................             0.00
                                                                                                         $______________
   9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled if
      retired under any provision of title 10 other than chapter 61 of that title.                                                     0.00
                                                                                                                                     $__________                    0.00
                                                                                                                                                                  $___________
   10. Income from all other sources not listed above. Specify the source and amount.
       Do not include any benefits received under the Social Security Act; payments received
       as a victim of a war crime, a crime against humanity, or international or domestic
       terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
       States Government in connection with a disability, combat-related injury or disability, or
       death of a member of the uniformed services. If necessary, list other sources on a
       separate page and put the total below.
           ______________________________________                                                                                      0.00
                                                                                                                                     $_________                     0.00
                                                                                                                                                                  $___________
           ______________________________________                                                                                      0.00
                                                                                                                                     $_________                     0.00
                                                                                                                                                                  $___________
           Total amounts from separate pages, if any.                                                                               0.00
                                                                                                                                 + $_________                      0.00
                                                                                                                                                               + $___________
   11. Calculate your total current monthly income. Add lines 2 through 10 for each
       column. Then add the total for Column A to the total for Column B.                                                             6,664.79
                                                                                                                                     $_________
                                                                                                                                                           +        0.00
                                                                                                                                                                  $___________
                                                                                                                                                                                       =    6,664.79
                                                                                                                                                                                           $__________
                                                                                                                                                                                           Total current
                                                                                                                                                                                           monthly income

   Part 2:           Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
       12a.       Copy your total current monthly income from line 11. ..................................................................................... Copy line 11 here           6,664.79
                                                                                                                                                                                        $__________

                  Multiply by 12 (the number of months in a year).                                                                                                                      x 12
       12b.       The result is your annual income for this part of the form.                                                                                                  12b.       79,977.48
                                                                                                                                                                                        $__________

   13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                                                    AZ

       Fill in the number of people in your household.                                                   4

       Fill in the median family income for your state and size of household. ................................................................................................. 13.       85,403.00
                                                                                                                                                                                        $__________
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk’s office.


   14. How do the lines compare?


            ✔ Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
       14a. 
                      Go to Part 3. Do NOT fill out or file Official Form 122A-2.



       14b.  Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                       Go to Part 3 and fill out Form 122A–2.




              Case 2:20-bk-00032-PS                                               Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                                                     Desc
Official Form 122A-1                                                 Chapter 7 Statement of Your Current Monthly Income                                                                    page 2
                                                                                  Main Document    Page 55 of 67
Debtor 1     Deborah   Ann Rodriguez
             _______________________________________________________                                                     2:20-bk-00032-PS
                                                                                                  Case number (if known)_____________________________________
             First Name      Middle Name         Last Name



   Part 3:     Sign Below

              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


               /s/ Deborah Ann Rodriguez
                   __________________________________________________________                   ______________________________________
                   Signature of Debtor 1                                                         Signature of Debtor 2

                       01/09/2020
                  Date _________________                                                         Date _________________
                       MM / DD / YYYY                                                                 MM / DD / YYYY


                   If you checked line 14a, do NOT fill out or file Form 122A–2.
                   If you checked line 14b, fill out Form 122A–2 and file it with this form.
¯¯¯¯¯




           Case 2:20-bk-00032-PS                     Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                                       Desc
Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                                   page 3
                                                     Main Document    Page 56 of 67
Deborah Rodriguez                                2:20-bk-00032-PS


APACHE COUNTY TREASURER'S OFFICE
75 WEST CLEVELAND STREET
SAINT JOHNS, AZ 85936

ARVEST CENTRAL MORTGAGE COMPANY
801 JOHN BARROW ROAD
SUITE 1
LITTLE ROCK, AR 72205

BARCLAYS BANK DELAWARE
P.O. BOX 60517
CITY OF INDUSTRY, CA 91716

BEST BUY CREDIT SERVICES
P.O. BOX 78009
PHOENIX, AZ 85062

CAPITAL ONE
P.O. BOX 85520
RICHMOND, VA 23285

COCHISE COUNTY TREASURER
P.O. BOX 1778
BISBEE, AZ 85603

COMENITY BANK/FOREVER 21
P.O. BOX 182120
COLUMBUS, OH 43218

COMENITY BANK/GAMESTOP
P.O. BOX 182120
COLUMBUS, OH 43218

COMENITY BANK/THE HOME DEPOT
P.O. BOX 6497
SIOUX FALLS, SD 57117

COX COMMUNICATIONS
P.O. BOX 1259
DEPARTMENT 97747
OAKS, PA 19456

DEPARTMENT STORES NATIONAL BANK/MACY'S
9111 DUKE BOULEVARD
MASON, OH 45040

DISCOVER FINANCIAL SERVICES, LLC
P.O. BOX 15316
WILMINGTON, DE 19850

FIRSTSOURCE ADVANTAGE, LLC
205 BRYANT WOODS SOUTH
AMHERST, NY 14228

LENDING CLUB
71 STEVENSON PLACE
SUITE 300
SAN FRANCISCO, CA 94105




Case 2:20-bk-00032-PS     Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26   Desc
                          Main Document    Page 57 of 67
Deborah Rodriguez                                2:20-bk-00032-PS


MOHAVE COUNTY TREASURER
P.O. BOX 712
KINGMAN, AZ 86402

NAVAJO COUNTY TREASURER
P.O. BOX 668
HOLBROOK, AZ 86025

NORDSTROM/TD BANK, USA
13531 EAST CALEY AVENUE
ENGLEWOOD, CO 80111

PATENAUDE & FELIX, A.P.C.
3260 NORTH HAYDEN ROAD
SUITE 209
SCOTTSDALE, AZ 85251

PORTFOLIO RECOVERY ASSOCIATES
120 CORPORATE BOULEVARD
SUITE 1
NORFOLK, VA 23502

RADIUS GLOBAL SOLUTIONS
P.O. BOX 390846
MINNEAPOLIS, MN 55439

SEARS
P.O. BOX 6283
SIOUX FALLS, SD 57117

STATE FARM BANK, F.S.B
1 STATE FARM PLAZA
BLOOMINGTON, IL 61710

SYNCHRONY BANK/AMAZON
P.O. BOX 960013
ORLANDO, FL 32896

SYNCHRONY BANK/EVINE
4125 WINDWARD PLAZA
ALPHARETTA, GA 30005

SYNCHRONY BANK/HSN
P.O. BOX 965017
ORLANDO, FL 32896

SYNCHRONY BANK/QVC
4125 WINDWARD PLAZA
ALPHARETTA, GA 30005

SYNCHRONY BANK/WALMART
P.O. BOX 965024
EL PASO, TX 79998

T-MOBILE USA, INC.
12920 SOUTHEAST 38TH STREET
BELLEVUE, WA 98006

TD BANK, USA/TARGET CREDIT CARD
P.O. BOX 673
MINNEAPOLIS, MN 55440



Case 2:20-bk-00032-PS     Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26   Desc
                          Main Document    Page 58 of 67
Deborah Rodriguez                              2:20-bk-00032-PS


US BANK
800 NICOLLET MALL
MINNEAPOLIS, MN 55402




Case 2:20-bk-00032-PS   Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26   Desc
                        Main Document    Page 59 of 67
                             United States Bankruptcy Court
                             District of Arizona




         Deborah Ann Rodriguez
In re:                                                          Case No. 2:20-bk-00032-PS

                                                                Chapter    7
                    Debtor(s)




                            Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              01/09/2020                           /s/ Deborah Ann Rodriguez
Date:
                                                   Signature of Debtor



                                                   Signature of Joint Debtor




Case 2:20-bk-00032-PS      Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26          Desc
                           Main Document    Page 60 of 67
N ot ic e Re quire d by 1 1 U.S.C. § 3 4 2 (b) for
I ndividua ls Filing for Ba nk rupt cy (Form 2010)


                                                                Chapter 7:        Liquidation
 This notice is for you if:

     You are an individual filing for bankruptcy,
                                                                          $245     filing fee
       and                                                                 $75     administrative fee
                                                                +          $15     trustee surcharge
     Your debts are primarily consumer debts.
                                                                          $335     total fee
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                   Chapter 7 is for individuals who have financial
       primarily for a personal, family, or                     difficulty preventing them from paying their
       household purpose.”                                      debts and who are willing to allow their non-
                                                                exempt property to be used to pay their
                                                                creditors. The primary purpose of filing under
                                                                chapter 7 is to have your debts discharged. The
T he t ype s of ba nk rupt c y t ha t a re                      bankruptcy discharge relieves you after
a va ila ble t o individua ls                                   bankruptcy from having to pay many of your
                                                                pre-bankruptcy debts. Exceptions exist for
Individuals who meet the qualifications may file                particular debts, and liens on property may still
under one of four different chapters of the                     be enforced after discharge. For example, a
Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                mortgage or repossess an automobile.
     Chapter 7 — Liquidation
                                                                However, if the court finds that you have
     Chapter 11 — Reorganization
                                                                committed certain kinds of improper conduct
                                                                described in the Bankruptcy Code, the court
     Chapter 12 — Voluntary repayment plan
                   for family farmers or                        may deny your discharge.
                   fishermen
                                                                You should know that even if you file
                                                                chapter 7 and you receive a discharge, some
     Chapter 13 — Voluntary repayment plan
                   for individuals with regular                 debts are not discharged under the law.
                   income                                       Therefore, you may still be responsible to pay:
                                                                    most taxes;
You should have an attorney review your                             most student loans;
decision to file for bankruptcy and the choice of
                                                                    domestic support and property settlement
chapter.
                                                                     obligations;




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1


Case 2:20-bk-00032-PS              Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                               Desc
                                   Main Document    Page 61 of 67
   most fines, penalties, forfeitures, and                     your income is more than the median income
    criminal restitution obligations; and                       for your state of residence and family size,
   certain debts that are not listed in your                   depending on the results of the Means Test, the
    bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                creditors can file a motion to dismiss your case
You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
from:                                                           motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal,
   fraud or theft;
                                                                you may choose to proceed under another
   fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
    of fiduciary capacity;
                                                                If you are an individual filing for chapter 7
   intentional injuries that you inflicted; and
                                                                bankruptcy, the trustee may sell your property
   death or personal injury caused by                          to pay your debts, subject to your right to
    operating a motor vehicle, vessel, or                       exempt the property or a portion of the
    aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
    drugs.                                                      property, and the proceeds from property that
                                                                your bankruptcy trustee sells or liquidates that
If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
that you have enough income to repay                            home, a car, clothing, and household items or
creditors a certain amount. You must file                       to receive some of the proceeds if the property
Chapter 7 Statement of Your Current Monthly                     is sold.
Income (Official Form 122A–1) if you are an
individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
chapter 7. This form will determine your                        property, you must list it on Schedule C: The
current monthly income and compare whether                      Property You Claim as Exempt (Official Form
your income is more than the median income                      106C). If you do not list the property, the
that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                to your creditors.
If your income is not above the median for
your state, you will not have to complete the
other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
Test Calculation (Official Form 122A–2).
                                                                         $1,167 filing fee
If your income is above the median for your                     +          $550 administrative fee
state, you must file a second form —the                                  $1,717 total fee
Chapter 7 Means Test Calculation (Official
Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
sometimes called the Means Test—deduct                          business, but is also available to individuals.
from your income living expenses and                            The provisions of chapter 11 are too
payments on certain debts to determine any                      complicated to summarize briefly.
amount available to pay unsecured creditors. If


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 2

Case 2:20-bk-00032-PS              Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                            Desc
                                   Main Document    Page 62 of 67
Re a d T he se I m port a nt Wa rnings


 Because bankruptcy can have serious long-term financial and legal consequences, including loss of
 your property, you should hire an attorney and carefully consider all of your options before you file.
 Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
 and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
 properly and protect you, your family, your home, and your possessions.
 Although the law allows you to represent yourself in bankruptcy court, you should understand that
 many people find it difficult to represent themselves successfully. The rules are technical, and a
 mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
 and following all of the legal requirements.
 You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
 necessary documents.
 Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
 bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
 fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
            farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                money that you owe them, usually using your
           $200 filing fee
                                                                future earnings. If the court approves your
+           $75 administrative fee
           $275 total fee
                                                                plan, the court will allow you to repay your
                                                                debts, as adjusted by the plan, within 3 years or
Similar to chapter 13, chapter 12 permits                       5 years, depending on your income and other
family farmers and fishermen to repay their                     factors.
debts over a period of time using future
earnings and to discharge some debts that are                   After you make all the payments under your
not paid.                                                       plan, many of your debts are discharged. The
                                                                debts that are not discharged and that you may
                                                                still be responsible to pay include:
                                                                    domestic support obligations,
Chapter 13: Repayment plan for
            individuals with regular                                most student loans,
            income                                                  certain taxes,
                                                                    debts for fraud or theft,
          $235    filing fee
                                                                    debts for fraud or defalcation while acting
+          $75    administrative fee
                                                                     in a fiduciary capacity,
          $310    total fee
                                                                    most criminal fines and restitution
Chapter 13 is for individuals who have regular                       obligations,
income and would like to pay all or part of                         certain debts that are not listed in your
their debts in installments over a period of time                    bankruptcy papers,
and to discharge some debts that are not paid.
                                                                    certain debts for acts that caused death or
You are eligible for chapter 13 only if your
                                                                     personal injury, and
debts are not more than certain dollar amounts
                                                                    certain long-term secured debts.
set forth in 11 U.S.C. § 109.


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 3

Case 2:20-bk-00032-PS              Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                               Desc
                                   Main Document    Page 63 of 67
                                                                A married couple may file a bankruptcy case
    Wa rning: File Y our Form s on T im e                       together—called a joint case. If you file a joint
                                                                case and each spouse lists the same mailing
    Section 521(a)(1) of the Bankruptcy Code                    address on the bankruptcy petition, the
    requires that you promptly file detailed information
                                                                bankruptcy court generally will mail you and
    about your creditors, assets, liabilities, income,
    expenses and general financial condition. The               your spouse one copy of each notice, unless
    court may dismiss your bankruptcy case if you do            you file a statement with the court asking that
    not file this information within the deadlines set by       each spouse receive separate copies.
    the Bankruptcy Code, the Bankruptcy Rules, and
    the local rules of the court.

    For more information about the documents and                U nde rst a nd w hic h se rvic e s you
    their deadlines, go to:                                     c ould re c e ive from c re dit
    http://www.uscourts.gov/bkforms/bankruptcy_form             c ounse ling a ge nc ie s
    s.html#procedure.
                                                                The law generally requires that you receive a
                                                                credit counseling briefing from an approved
                                                                credit counseling agency. 11 U.S.C. § 109(h).
Ba nk rupt c y c rim e s ha ve se rious
                                                                If you are filing a joint case, both spouses must
c onse que nc e s
                                                                receive the briefing. With limited exceptions,
     If you knowingly and fraudulently conceal                 you must receive it within the 180 days before
      assets or make a false oath or statement                  you file your bankruptcy petition. This briefing
      under penalty of perjury—either orally or                 is usually conducted by telephone or on the
      in writing—in connection with a                           Internet.
      bankruptcy case, you may be fined,
      imprisoned, or both.                                      In addition, after filing a bankruptcy case, you
                                                                generally must complete a financial
      All information you supply in connection                 management instructional course before you
      with a bankruptcy case is subject to                      can receive a discharge. If you are filing a joint
      examination by the Attorney General acting                case, both spouses must complete the course.
      through the Office of the U.S. Trustee, the
      Office of the U.S. Attorney, and other                    You can obtain the list of agencies approved to
      offices and employees of the U.S.                         provide both the briefing and the instructional
      Department of Justice.                                    course from:
                                                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
M a k e sure t he c ourt ha s your                              In Alabama and North Carolina, go to:
m a iling a ddre ss                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/

The bankruptcy court sends notices to the                       BankruptcyResources/ApprovedCredit

mailing address you list on Voluntary Petition                  AndDebtCounselors.aspx.

for Individuals Filing for Bankruptcy (Official
                                                                If you do not have access to a computer, the
Form 101). To ensure that you receive
                                                                clerk of the bankruptcy court may be able to
information about your case, Bankruptcy
                                                                help you obtain the list.
Rule 4002 requires that you notify the court of
any changes in your address.


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 4

Case 2:20-bk-00032-PS                  Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                        Desc
                                       Main Document    Page 64 of 67
     B2030 (Form 2030) (12/15)


                                      United States Bankruptcy Court
                                                                   District of Arizona
                                               __________________________________
     In re   Deborah Ann Rodriguez

                                                                                                             Case No. _______________
                                                                                                                      2:20-bk-00032-PS



    Debtor                                                                                                            7
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

✔   FLAT FEE
                                                                                                                         2,935.00
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                 1,600.00
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                                   1,335.00
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

     RETAINER
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________

          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
          Case 2:20-bk-00032-PS                      Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                                               Desc
                                                     Main Document    Page 65 of 67
 B2030 (Form 2030) (12/15)
      d. [Other provisions as needed]
Debtor and Attorney have entered into two separate fee agreements. The first was for $1,600 ($1,265 in legal fees + $335 filing fee), signed
pre-petition, for the preparation and filing of the bankruptcy petition, the payment of court filing fees, and review, analysis, and advisement of the of
the typical matters that are required to be performed pre-petition by a bankruptcy attorney under the applicable bankruptcy and ethical rules. Any
fees and costs for pre-petition services that were unpaid and owing at the time of filing were waived by Counsel.

The second fee agreement was for $1,335, signed post-petition for the completion of the balance of schedules, representation at the 341 meeting of
creditors, and other legal services outlined in the fee agreement.

The post-petition agreement allows the Debtor(s) to make twelve (12) payments for the post-petition fees. Counsel's services to the Debtor(s) are
not unbundled and are instead bifurcated into pre-petition and post-petition services as described in Bethea v. Robert J. Adams & Assocs., F.3d
1125, 1128 (7th Cir. 2003), cert. denied, 158 L. Ed 2d 733, 124 S. Ct. 2176 (2004), In re Sanchez, 241 F.3d 1148, 1150-51 (9th Cir. 2001), and
related cases.




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
Representation of the debtor in adversary proceedings and other contested bankruptcy matters. Representation of the debtor in a 2004
examination. Preparation and filing of an amended or modified plan, or motion for a moratorium of plan payments.




   Case 2:20-bk-00032-PS                     Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                                        Desc
                                             Main Document    Page 66 of 67
                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for
           payment to me for representation of the debtor(s) in this bankruptcy proceeding.

       01/09/2020                        /s/ John Skiba, 022699
     _____________________              _________________________________________
     Date                                      Signature of Attorney
                                         Arizona Consumer Law Group, PLC
                                        _________________________________________
                                              ​Name of law firm
                                         7233 East Baseline Road
                                         Suite 117
                                         Mesa, AZ 85209
                                         (480) 420-4028
                                         john@skibalaw.com




Case 2:20-bk-00032-PS        Doc 14 Filed 01/16/20 Entered 01/16/20 14:42:26                      Desc
                             Main Document    Page 67 of 67
